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18                           UNITED STATES DISTRICT COURT

19                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

20   UNITED STATES OF AMERICA,                No. 2:21-CR-00498-MCS

21             Plaintiff,                     DEFERRED PROSECUTION AGREEMENT FOR
                                              DEFENDANTS GREE ELECTRIC
22                   v.                       APPLIANCES, INC. OF ZHUHAI, AND
                                              HONG KONG GREE ELECTRIC APPLIANCES
23   GREE ELECTRIC APPLIANCES, INC.           SALES CO., LTD.
        OF ZHUHAI, and
24   HONG KONG GREE ELECTRIC
        APPLIANCES SALES CO., LTD.,
25
               Defendants.
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 1        1.      This constitutes the deferred prosecution agreement between

 2   defendant GREE ELECTRIC APPLIANCES, INC. OF ZHUHAI (“Gree Zhuhai”)

 3   and defendant HONG KONG GREE ELECTRIC APPLIANCES SALES CO., LTD.

 4   (“Gree Hong Kong”) and the United States Department of Justice’s

 5   Consumer Protection Branch (“CPB”) and the United States Attorney’s

 6   Office for the Central District of California (“USAO” and

 7   collectively with the CPB, the “government”) in the above-captioned

 8   case.     This agreement is limited to the CPB and the USAO, on the one

 9   hand, and Gree Zhuhai and Gree Hong Kong, on the other, and cannot

10   bind any other federal, state, local, or foreign prosecuting,

11   enforcement, administrative, or regulatory authorities.

12                 GREE ZHUHAI’S AND GREE HONG KONG’S OBLIGATIONS

13           2.   Gree Zhuhai and Gree Hong Kong agree to:
14                a.   No later than ten (10) business days after the
15   Effective Date of this agreement, pay the forfeiture and monetary
16   penalty described in Paragraphs 27 and 28 of this agreement
17   respectively.
18                b.   Pay restitution as set forth in Paragraphs 17-26 of
19   this agreement.
20                c.   Sign, file, and enter a Stipulation Regarding Request
21   for (1) Continuance of Trial Date and (2) Findings of Excludable Time
22   Periods Pursuant to Speedy Trial Act, in the form attached to this
23   agreement as Exhibit E or a substantially similar form.
24                d.   Comply with all terms in this agreement and the
25   Enhanced Compliance Measures attached hereto as Exhibit D, which is
26   incorporated herein by reference.
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 1              e.     Admit, accept, and acknowledge responsibility for the

 2   acts of their officers, employees, and agents as set forth in this

 3   agreement and the Statement of Facts attached hereto as Exhibit B.

 4              f.     Not contest or contradict any facts or information

 5   agreed to in this agreement and the Statement of Facts attached

 6   hereto as Exhibit B or their admissibility in proceedings related to

 7   this agreement.

 8              g.     Appear for all court appearances, obey all conditions

 9   of any bond, and obey any other ongoing court order in this matter.

10              h.     Cooperate with the government as set forth in

11   Paragraph 16 of this agreement.

12              i.     Not commit any federal, state, or local crime.

13              j.     Be truthful at all times with the government and the

14   Court.

15                           THE GOVERNMENT’S OBLIGATIONS

16        3.    The government agrees to:
17              a.     Sign, file, and enter a Stipulation Regarding Request
18   for (1) Continuance of Trial Date and (2) Findings of Excludable Time
19   Periods Pursuant to Speedy Trial Act, in the form attached to this
20   agreement as Exhibit E or a substantially similar form.
21              b.     If Gree Zhuhai and Gree Hong Kong are in full
22   compliance with all of their obligations under this agreement at the
23   conclusion of the deferred prosecution term described in Paragraphs
24   6-10, within 15 calendar days of the conclusion of the term, move to
25   dismiss the one-count Information.
26              c.     Except for criminal tax violations (including
27   conspiracy to commit such violations chargeable under 18 U.S.C.
28   § 371), not further criminally prosecute Gree Zhuhai or Gree Hong
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 1   Kong for criminal and/or civil violations arising out of their

 2   conduct described in this agreement and the Statement of Facts

 3   attached to this agreement as Exhibit B (the “Covered Conduct”).

 4   Gree Zhuhai and Gree Hong Kong understand that the government is free

 5   to prosecute them criminally for any other unlawful past conduct or

 6   any unlawful conduct that occurs after the date of this agreement.

 7                         WAIVER OF INDICTMENT AND VENUE

 8        4.    Gree Zhuhai and Gree Hong Kong acknowledge and agree that
 9   the government will file a one-count information in the United States
10   District Court for the Central District of California, in the form
11   attached to this agreement as Exhibit A or a substantially similar
12   form, that charges Gree Zhuhai and Gree Hong Kong with Failure to
13   Furnish Information Required by 15 U.S.C. § 2064(b), in violation of
14   15 U.S.C. §§ 2068(a)(4) and 2070 (the “Information”).
15        5.    Having been fully advised by their attorneys, Gree Zhuhai
16   and Gree Hong Kong hereby knowingly, voluntarily, and intelligently
17   waive, relinquish, and give up:
18              a.    Any right to indictment on the charge in the
19   Information;
20              b.    All rights to a speedy trial on the charge in the
21   Information pursuant to the Sixth Amendment to the United States
22   Constitution, Title 18, United States Code, Section 3161, and Federal
23   Rule of Criminal Procedure 48(b); and
24              c.    Any objection to venue in the United States District
25   Court for the Central District of California for the charge in the
26   Information or any other charge arising out of the Covered Conduct.
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 1                                 TERM OF AGREEMENT

 2        6.    This agreement is effective on the date on which the

 3   Information is filed (the “Effective Date”).

 4        7.    Unless voided or extended as allowed in Paragraphs 8-10

 5   below, this agreement shall remain in effect for a period of three

 6   years after the Effective Date (the “Term”).

 7        8.    If, after the filing of the Information, the Court does not

 8   continue the trial date and make findings of excludable time periods

 9   pursuant to the Speedy Trial Act, then the parties agree that, with

10   the exception of the parties’ waiver of the statute of limitations in

11   Paragraph 36, this agreement is null and void.

12        9.    Gree Zhuhai and Gree Hong Kong agree that, in the event the

13   government determines, in its sole discretion, that either Gree

14   Zhuhai or Gree Hong Kong has failed to perform or fulfill any

15   obligation in this agreement, an extension or extensions of the Term

16   of this agreement for both Gree Zhuhai and Gree Hong Kong may be

17   imposed by the government, in its sole discretion, for up to a total

18   additional time period of twelve months, without prejudice to the

19   government’s right to proceed as provided in Paragraph 38.b below.

20   Any extension of this agreement is effective for both Gree Zhuhai and

21   Gree Hong Kong and extends all terms of this agreement, including the

22   terms of the Enhanced Compliance Measures in Exhibit D, for an

23   equivalent period.

24        10.   In the event the government determines that an extension of

25   the Term of this agreement is or may be warranted, the government

26   will notify Gree Zhuhai and Gree Hong Kong in writing of its

27   determination no later than ninety (90) days prior to the expiration

28   of the Term.    Within forty-five (45) days of receipt of that notice,

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 1   Gree Zhuhai and/or Gree Hong Kong may respond to the government in

 2   writing to explain the nature and circumstances of any alleged

 3   failure to perform or fulfill any obligation in this agreement, as

 4   well as the actions they have taken to address and remediate the

 5   situation.    The government agrees to consider such explanation in

 6   determining whether to extend the Term of this agreement.

 7                         CIRCUMSTANCES OF THIS AGREEMENT

 8        11.     The government enters into this agreement based on the
 9   individual facts and circumstances presented in this case, including:
10                a.   The nature and seriousness of the Covered Conduct;
11                b.   The changes made by Gree Zhuhai since 2013 to improve
12   the safety of its products and to prevent violations of the Consumer
13   Product Safety Act, 15 U.S.C. § 2051 et seq. (“CPSA”), including Gree
14   Zhuhai’s investments in expanded employee training and updated
15   policies, procedures, and supervisory structures with an emphasis on
16   preventing, detecting, and remediating defective products;
17                c.   Gree Zhuhai’s enhancement and commitment to continuing
18   to enhance its compliance and product safety programs and internal
19   controls to ensure that they satisfy the elements set forth in the
20   Enhanced Compliance Measures in Exhibit D to this agreement, thereby
21   safeguarding the safety of their consumer products;
22                d.   Based on Gree Zhuhai’s remediation and the current
23   state of its product safety and compliance programs, the fact that
24   the Covered Conduct ended in 2013, and Gree Zhuhai’s agreement to
25   report to the government as set forth in the Enhanced Compliance
26   Measures in Exhibit D to this agreement, the government determined
27   that an independent compliance monitor was unnecessary;
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 1              e.    the acknowledgment by Gree Zhuhai and Gree Hong Kong

 2   of their conduct and their acceptance of responsibility for that

 3   conduct;

 4              f.    the cooperation by Gree Zhuhai and Gree Hong Kong in

 5   the investigation of this matter and their commitment to continue

 6   that cooperation as provided in Paragraph 16 below; and

 7              g.    the commitment by Gree Zhuhai and Gree Hong Kong to

 8   fulfill all of their obligations in this agreement.

 9                              CORPORATE AUTHORIZATION

10        12.   Gree Zhuhai and Gree Hong Kong represent that they are
11   authorized to enter into this agreement.         Within five (5) business
12   days of the signing and execution of this agreement by all parties,
13   Gree Zhuhai and Gree Hong Kong shall provide the government a legal
14   document certifying that each of them is authorized to enter into and
15   comply with all of the provisions of this agreement.           Such legal
16   document shall designate a company representative who is authorized
17   to take the actions specified in this agreement, and shall also state
18   that all legal formalities for such authorizations have been observed
19   in the form attached to this agreement as Exhibit C.           Within five (5)
20   business days of the filing of the Information, Gree Zhuhai and Gree
21   Hong Kong shall file with the Court the same authorization documents
22   previously provided to the government.
23                    ORGANIZATIONAL CHANGES AND APPLICABILITY
24        13.   This agreement shall bind Gree Zhuhai and Gree Hong Kong,
25   their successor entities (if any), parent companies, and any other
26   person or entity that assumes the liabilities contained herein
27   (“successors-in-interest”).      Gree Zhuhai and Gree Hong Kong, or their
28   successors-in-interest, if applicable, shall provide the government
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 1   and the Court with notice in writing at least fifteen (15) days

 2   before of any name change, business reorganization, sale or purchase

 3   of assets, divestiture of assets, or similar action impacting their

 4   ability to perform or fulfill any of their obligations in this

 5   agreement, including their ability to pay the monetary penalty or

 6   forfeiture in this agreement.       No change in name, change in corporate

 7   or individual control, business reorganization, change in ownership,

 8   merger, change of legal status, sale or purchase of assets, or

 9   similar action shall alter Gree Zhuhai’s or Gree Hong Kong’s

10   responsibilities under this agreement.         Neither Gree Zhuhai nor Gree

11   Hong Kong shall engage in any action to seek to avoid the obligations

12   and conditions set forth in this agreement.

13                               NATURE OF THE OFFENSE

14        14.   Gree Zhuhai and Gree Hong Kong understand that for each of
15   them to be guilty of the crime charged in the Information, that is,
16   Failure to Furnish Information Required by 15 U.S.C. § 2064(b)(3) and
17   (4), in violation of Title 15, United States Code, Sections
18   2068(a)(4) and 2070, the following must be true: each of them
19   knowingly and willfully failed immediately to inform the United
20   States Consumer Product Safety Commission (“CPSC”) upon obtaining
21   information which reasonably supported the conclusion that their
22   dehumidifiers contained a defect which created a substantial product
23   hazard, that is, a substantial risk of injury to the public, and
24   created an unreasonable risk of serious injury or death.
25                                      PENALTIES
26        15.   Gree Zhuhai and Gree Hong Kong understand that the
27   statutory maximum sentence that the Court can impose on each of them
28   for a violation of Title 15, United States Code, Sections 2068(a)(4)
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 1   and 2070, is: a five (5) year period of probation; a fine of five

 2   hundred thousand dollars ($500,000) or twice the gross gain or gross

 3   loss resulting from the offense, whichever is greatest; and a

 4   mandatory special assessment of four hundred dollars ($400).

 5                                     COOPERATION

 6        16.   Gree Zhuhai and Gree Hong Kong agree to cooperate fully
 7   with the government and any other government agency designated by the
 8   government in any and all matters relating to the Covered Conduct
 9   until the date upon which all investigations and prosecutions arising
10   out of the Covered Conduct are concluded, whether or not those
11   investigations and prosecutions are concluded within the Term
12   specified in Paragraphs 7-10.       Gree Zhuhai and Gree Hong Kong's
13   cooperation pursuant to this paragraph is subject to applicable laws
14   and regulations, as well as valid claims of attorney-client privilege
15   or attorney work product doctrine.        However, Gree Zhuhai and Gree
16   Hong Kong must provide to the government a log of any document or
17   information that is not provided based on an assertion of law,
18   regulation, or privilege, and Gree Zhuhai and Gree Hong Kong bear the
19   burden of establishing the validity of any such assertions.            This
20   cooperation shall include, but is not limited to the following:
21              a.    Gree Zhuhai and Gree Hong Kong shall truthfully
22   disclose all information not protected by a valid claim of attorney-
23   client privilege with respect to their activities and those of any of
24   their present and former directors, officers, employees, agents,
25   representatives, and any others concerning all matters about which
26   the government may inquire.      This obligation of truthful disclosure
27   includes Gree Zhuhai’s and Gree Hong Kong’s obligation to assemble,
28   organize, and provide the government all non-privileged documents,
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 1   records, or other tangible evidence in their custody or control as

 2   the government may reasonably request.

 3              b.   Gree Zhuhai and Gree Hong Kong shall provide testimony

 4   or information necessary to identify or establish the original

 5   location, authenticity, or other basis for admission into evidence of

 6   documents or other tangible evidence in any criminal, legal, court or

 7   other proceeding as the government may request.

 8              c.   Gree Zhuhai and Gree Hong Kong shall, using their

 9   reasonable best efforts, make available their present and former

10   officers, directors and employees to provide information and/or

11   testimony as the government may request, including testimony before a

12   grand jury, a trial court, or other legal or court proceeding, as

13   well as interviews with law enforcement authorities.          Gree Zhuhai’s

14   and Gree Hong Kong’s cooperation under this paragraph shall include

15   identification of witnesses who have material information relating to

16   the Covered Conduct, including identification of witnesses who have

17   particular types of material information requested by the government.

18   It is further understood that Gree Zhuhai and Gree Hong Kong must at

19   all times provide complete, truthful, and accurate information.

20              d.   Gree Zhuhai and Gree Hong Kong (and their directors,

21   officers, employees, agents, and representatives) shall testify

22   truthfully before the grand jury and at any trial or other proceeding

23   with respect to any matters about which they may be questioned.               Gree

24   Zhuhai and Gree Hong Kong (and their directors, officers, employees,

25   agents, and representatives) shall at all times give complete,

26   truthful, and accurate information and testimony.          Gree Zhuhai and

27   Gree Hong Kong (and their directors, officers, employees, agents, and

28   representatives) shall neither attempt to protect any person who has
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 1   been involved in criminal activity, nor falsely implicate anyone in

 2   criminal activity.

 3                                    RESTITUTION

 4        17.   Gree Zhuhai and Gree Hong Kong agree to pay restitution to

 5   individuals who were directly and proximately harmed, either through

 6   physical injury or financial loss, by a fire or overheating caused by

 7   one of their dehumidifiers that were manufactured in 2007 through

 8   2013, sold in the United States, and subject to the recall that Gree

 9   Zhuhai announced on September 12, 2013, expanded on January 30, 2014,

10   and re-announced on November 29, 2016.        Gree Zhuhai and Gree Hong

11   Kong agree to pay restitution to such individuals in the amounts

12   determined by the United States Magistrate Judge or Special Master

13   through the procedures in Paragraphs 20-25 below.          The restitution

14   owed to such individuals shall be reduced by the amount of

15   compensation that they have already received for their losses through

16   earlier payments from Gree Zhuhai, Gree Hong Kong, Gree USA, Inc.

17   (“Gree USA”), or other sources, including but not limited to,

18   insurance.

19        18.   Gree Zhuhai and Gree Hong Kong agree to pay restitution to

20   entities that were directly and proximately harmed by a fire or

21   overheating that was caused by one of their dehumidifiers that were

22   manufactured in 2007 through 2013, sold in the United States, and

23   subject to the recall that Gree Zhuhai announced on September 12,

24   2013, expanded on January 30, 2014, and re-announced on November 29,

25   2016.   Gree Zhuhai and Gree Hong Kong agree to pay restitution to

26   such entities in the amounts determined by the United States

27   Magistrate Judge or Special Master through the procedures in

28   Paragraphs 20-25 below.     The restitution owed to such entities shall
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 1   be reduced by the amount of compensation that they have already

 2   received for their losses through earlier payments from Gree Zhuhai,

 3   Gree Hong Kong, Gree USA, or other sources, including but not limited

 4   to, insurance.

 5        19.   Gree Zhuhai and Gree Hong Kong agree that all such

 6   individuals and entities mentioned in Paragraphs 17 and 18 are

 7   victims of the crime of which they are charged or other uncharged

 8   crimes related to that charged crime.

 9        20.   Gree Zhuhai and Gree Hong Kong agree to the appointment of

10   a United States Magistrate Judge or Special Master to determine the

11   proper payment of the restitution set forth in Paragraphs 17 and 18.

12   Gree Zhuhai and Gree Hong Kong agree that the United States

13   Magistrate Judge or Special Master, as determined by the Court,

14   should make findings of fact regarding:

15              a.    Who should receive restitution under Paragraphs 17 and

16   18; and

17              b.    The restitution amounts that these individuals and

18   entities should receive.

19        21.   In connection with the administration and disposition of

20   restitution in this matter, Gree Zhuhai and Gree Hong Kong agree that

21   the United States Magistrate Judge or Special Master should:

22              a.    Notify potential claimants of the restitution claim

23   process within one hundred twenty (120) days of Gree USA’s sentencing

24   proceeding;

25              b.    Collect restitution claims for a period of one hundred

26   eighty (180) days after the date of the last notice to potential

27   claimants.    Restitution claims submitted later than one hundred

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 1   eighty (180) days after the date of the last notice to potential

 2   claimants are not eligible for restitution;

 3              c.    Determine the validity of each submitted restitution

 4   claim, and for each valid claim, determine the amount of restitution

 5   owed for that claim;

 6              d.    Implement appropriate procedures necessary to carry

 7   out the foregoing duties within one hundred twenty (120) days of Gree

 8   USA’s sentencing proceeding;

 9              e.    Promptly notify Gree Zhuhai, Gree Hong Kong, Gree USA

10   and the government of all claims received; and

11              f.    Report to the Court every sixty (60) days following

12   Gree USA’s sentencing proceeding on the status of the United States

13   Magistrate Judge’s or Special Master’s work to date, anticipated

14   future efforts, and any matters the United States Magistrate Judge or

15   Special Master believes require the Court’s attention.

16        22.   If the United States Magistrate Judge or Special Master

17   decides that restitution is owed on a claim, Gree Zhuhai and Gree

18   Hong Kong will pay that claim within ten (10) days after the United

19   States Magistrate’s or Special Master’s decision becomes final.                The

20   United States Magistrate Judge’s or Special Master’s decision becomes

21   final forty-five (45) days after the first notice to Gree Zhuhai,

22   Gree Hong Kong or Gree USA of the decision.

23              a.    Gree Zhuhai and Gree Hong Kong will pay any

24   restitution award of fifty thousand dollars ($50,000) or less within

25   ten days after the United States Magistrate Judge’s or Special

26   Master’s decision becomes final.       Gree Zhuhai and Gree Hong Kong have

27   no right to appeal any decision awarding restitution of fifty

28   thousand dollars ($50,000) or less.
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 1               b.    Gree Zhuhai and Gree Hong Kong may appeal in a court

 2   of competent jurisdiction any decision awarding restitution greater

 3   than fifty thousand dollars ($50,000).        If Gree Zhuhai or Gree Hong

 4   Kong appeal or challenge the United States Magistrate Judge’s or

 5   Special Master’s decision within forty-four (44) days after the first

 6   notice of the decision to Gree Zhuhai, Gree Hong Kong or Gree USA,

 7   the United States Magistrate Judge’s or Special Master’s decision

 8   does not become final until all of Gree Zhuhai’s and Gree Hong Kong’s

 9   appeals have been exhausted.

10               c.    All decisions by the United States Magistrate Judge or

11   Special Master will be vested in their discretion and, if contested,

12   will be reviewed under the arbitrary-and-capricious standard set

13   forth in 5 U.S.C. § 706(2)(A).       Review of any decision by the United

14   States Magistrate Judge or Special Master will be based exclusively

15   on the written record before the United States Magistrate Judge or

16   Special Master at the time of the decision.         No discovery will be

17   taken in a challenge to the United States Magistrate Judge’s or

18   Special Master’s decision.

19        23.    Gree Zhuhai and Gree Hong Kong will have a reasonable

20   opportunity to investigate and challenge any claim before the United

21   States Magistrate Judge or Special Master makes a decision on a

22   claim.     Gree Zhuhai’s and Gree Hong Kong’s reasonable opportunity to

23   investigate and challenge a claim will not exceed six (6) months from

24   the first notification to Gree Zhuhai, Gree Hong Kong or Gree USA of

25   the claim, unless the United States Magistrate Judge or Special

26   Master decides to extend the time for Gree Zhuhai or Gree Hong Kong

27   to investigate and challenge a claim.        In no event will Gree Zhuhai’s

28   and Gree Hong Kong’s opportunity to investigate and challenge a claim
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 1   exceed twelve (12) months after the first notification to Gree

 2   Zhuhai, Gree Hong Kong or Gree USA of the claim.

 3        24.   The United States Magistrate Judge or Special Master may

 4   request from the Court a reasonable extension of the time periods in

 5   the preceding paragraphs as circumstances warrant.

 6        25.   Gree Zhuhai and Gree Hong Kong shall promptly provide to

 7   the United States Magistrate Judge or Special Master all documentary

 8   materials or testimonial information reasonably requested by the

 9   United States Magistrate Judge or Special Master, subject to

10   applicable laws and regulations, as well as valid claims of attorney-

11   client privilege or attorney work product doctrine.           However, Gree

12   Zhuhai and Gree Hong Kong must provide to the government a log of any

13   document or information that is not provided based on an assertion of

14   law, regulation, or privilege, and Gree Zhuhai and Gree Hong Kong

15   bear the burden of establishing the validity of any such assertions.

16        26.   Gree Zhuhai and Gree Hong Kong shall pay in full any costs,

17   fees, and expenses the United States Magistrate Judge or Special

18   Master incurs in carrying out his or her duties separate and apart

19   from any restitution paid to victims with valid restitution claims.

20                                     FORFEITURE

21        27.   As a result of the Covered Conduct, Gree Zhuhai and Gree
22   Hong Kong agree to pay to the United States thirty-nine million
23   dollars ($39,000,000) (the “Stipulated Forfeiture Amount”)
24   representing the assets associated with their violation of 15 U.S.C.
25   §§ 2068(a)(4) and 2070.
26              a.    Gree Zhuhai and Gree Hong Kong agree that:
27                    i.    the facts set forth in the Statement of Facts
28   attached as Exhibit B to this agreement are sufficient to establish
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 1   that the Stipulated Forfeiture Amount is subject to civil forfeiture

 2   to the United States; and

 3                    ii.   this agreement and the Statement of Facts may be

 4   attached to and incorporated into the Civil Forfeiture Complaint to

 5   be filed against the Stipulated Forfeiture Amount.

 6              b.    By this agreement, Gree Zhuhai and Gree Hong Kong

 7   waive service of said Civil Forfeiture Complaint and agree that a

 8   Final Order of Forfeiture may be entered against the Stipulated

 9   Forfeiture Amount.

10              c.    Upon payment of the Stipulated Forfeiture Amount, Gree

11   Zhuhai and Gree Hong Kong shall:

12                    i.    release any and all claims they may have to such

13   funds; and

14                    ii.   execute such documents as necessary to accomplish

15   the forfeiture of the funds.

16              d.    Gree Zhuhai and Gree Hong Kong agree that they will

17   not file a claim with the Court or otherwise contest the civil

18   forfeiture of the Stipulated Forfeiture Amount and will not assist a

19   third party in asserting any claim to the Stipulated Forfeiture

20   Amount.

21              e.    The forfeiture of the Stipulated Forfeiture Amount

22   shall be final and shall not be refunded.

23              f.    Gree Zhuhai or Gree Hong Kong shall transfer thirty-

24   nine million dollars ($39,000,000) to the United States within ten

25   (10) business days of the Effective Date of this agreement.            Such

26   transfer shall be made by wire transfer to the United States,

27   pursuant to wire instructions provided by the government.

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 1              g.    It is understood that nothing in this agreement

 2   constitutes an agreement by the government that the forfeiture amount

 3   in this paragraph is the maximum forfeiture that may be imposed in

 4   any future prosecution of Gree Zhuhai or Gree Hong Kong, and that the

 5   government is not precluded from then arguing or presenting evidence

 6   in any future prosecution that the Court should impose a higher

 7   forfeiture amount.     However, it is further understood that in the

 8   event of a future prosecution, the government agrees that it will

 9   recommend to the Court that any amount forfeited by Gree Zhuhai under

10   this agreement should be offset against any forfeiture or fine that

11   the Court might impose as part of a future judgment.

12                                  MONETARY PENALTY

13        28.   Gree Zhuhai, Gree Hong Kong and the government agree that
14   the appropriate total monetary penalty is fifty-two million two
15   hundred thousand dollars ($52,200,000)(the “Total Monetary Penalty”),
16   of which five hundred thousand dollars ($500,000) will be paid as a
17   criminal fine on behalf of Gree Zhuhai’s and Gree Hong Kong’s United
18   States subsidiary Gree USA, in connection with Gree USA’s guilty plea
19   and plea agreement filed simultaneously herewith.
20              a.    Gree Zhuhai, Gree Hong Kong, and the government agree
21   that the Total Monetary Penalty is appropriate given the facts and
22   circumstances of this case.
23              b.    The government recognizes that Gree Zhuhai, Gree Hong
24   Kong, and Gree USA have already paid fifteen million four hundred and
25   fifty thousand dollars ($15,450,000) to the United States in
26   connection with their settlement of the CPSC’s related civil penalty
27   action against them.     The government agrees that this payment of
28   fifteen million four hundred and fifty thousand dollars ($15,450,000)
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 1   to the United States shall be credited against the Total Monetary

 2   Penalty pursuant to the “Coordination of Corporate Resolution

 3   Penalties and/or Joint Investigations and Proceedings Arising from

 4   the Same Misconduct” Policy in the Department of Justice Manual 1-

 5   12.100.

 6              c.    Gree Zhuhai and Gree Hong Kong agree to pay thirty-six

 7   million two hundred and fifty thousand dollars ($36,250,000) of the

 8   Total Monetary Penalty to the United States within ten (10) business

 9   days of the Effective Date of this agreement.          Gree Zhuhai or Gree

10   Hong Kong will make this payment by wire transfer according to the

11   wire instructions provided by the government.

12              d.    Gree Zhuhai and Gree Hong Kong agree to pay five

13   hundred thousand dollars ($500,000) of the Total Monetary Penalty as

14   a criminal fine on behalf of Gree USA (the “Criminal Fine Payment”)

15   no later than ten (10) business days after the entry of judgment of

16   Gree USA's sentence by the Court.         Gree Zhuhai and Gree Hong Kong

17   agree to make the Criminal Fine Payment as a related company of Gree

18   USA.   Gree Zhuhai or Gree Hong Kong will make this payment by wire

19   transfer according to the wire instructions to be provided by the

20   government.

21              e.    All Total Monetary Penalty payments are final and

22   shall not be refunded.

23              f.    If Gree Zhuhai and Gree Hong Kong fail to timely make

24   the payments required in this paragraph, interest (at the rate

25   specified in Title 28, United States Code, Section 1961) shall accrue

26   on the unpaid balance through the date of payment.

27              g.    Nothing in this agreement shall be deemed an agreement

28   by the government that fifty-two million two hundred thousand dollars
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 1   ($52,200,000) is the maximum penalty that may be imposed in any

 2   future prosecution of Gree Zhuhai or Gree Hong Kong, and the

 3   government is not precluded from arguing in any future prosecution

 4   that the Court should impose a higher fine, although the government

 5   agrees that it will recommend to the Court that any amount paid under

 6   this agreement should be offset against any forfeiture or fine that

 7   the Court might impose as part of a future judgment.

 8                      SUSPENSION, REVOCATION, AND DEBARMENT

 9        29.   Gree Zhuhai and Gree Hong Kong understand that if either of
10   them hold any regulatory licenses or permits, this agreement may
11   result in the suspension or revocation of those licenses and permits.
12   The government makes no representation or promise concerning
13   suspension or debarment of Gree Zhuhai or Gree Hong Kong from
14   contracting with the United States or with any office, agency, or
15   department thereof.     Suspension and debarment of organizations is a
16   discretionary administrative action solely within the authority of
17   the federal contracting agencies.         Gree Zhuhai and Gree Hong Kong
18   understand that unanticipated collateral consequences such as this
19   will not serve as grounds to withdraw from this agreement.
20                                    FACTUAL BASIS
21        30.   Gree Zhuhai, Gree Hong Kong, and the government agree to
22   the Statement of Facts attached hereto as Exhibit B and incorporated
23   herein by this reference, and agree that the Statement of Facts is
24   sufficient to support a conviction to the charges described in this
25   agreement.   The attached Statement of Facts is not meant to be a
26   complete recitation of all facts relevant to the underlying criminal
27   conduct or all facts known to the parties that relate to that
28   conduct.
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 1        31.   Gree Zhuhai and Gree Hong Kong admit, accept, and

 2   acknowledge that they are responsible under United States law for the

 3   acts of their officers, directors, employees, and agents, including

 4   the officers, directors, employees, and agents of Gree USA, as set

 5   forth in the Statement of Facts, and that the facts in the Statement

 6   of Facts are true and accurate.       Should the government pursue the

 7   prosecution that is deferred by this agreement, Gree Zhuhai and Gree

 8   Hong Kong stipulate to the admissibility of the Statement of Facts in

 9   any proceeding, including any trial, guilty plea, or sentencing

10   proceeding, and will not contradict anything in the Statement of

11   Facts at any such proceeding.

12                                 COMPLIANCE PROGRAM

13        32.   Gree Zhuhai and Gree Hong Kong further agree to comply with
14   the terms of the Enhanced Compliance Measures, as set forth in
15   Exhibit D and incorporated by reference herein, and to institute and
16   maintain, at a minimum, the policies and procedures as described
17   therein, which are intended to prevent future violations of law,
18   including the CPSA and its implementing regulations.
19                                        NOTICE
20        33.   Any notice to Gree Zhuhai or Gree Hong Kong under this
21   agreement shall be given by: (1) email to an email address provided
22   by Gree Zhuhai and Gree Hong Kong; and (2) personal delivery,
23   overnight delivery by a recognized delivery service, or registered or
24   certified mail, addressed to:
25        James M. Koukios
          Sophia H. Cash
26        Morrison & Foerster LLP
          2100 L Street, NW, Suite 900
27        Washington, DC 20037
28
                                          20
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 1        34.   Any notice to the government under this agreement shall be

 2   given by: (1) email to an email address provided by the government;

 3   and (2) personal delivery, or overnight delivery by a recognized

 4   delivery service addressed to the following:

 5        Director, Consumer Protection Branch
          U.S. Department of Justice
 6        450 5th St NW, Suite 6400 South
          Washington, DC 20001
 7

 8        and

 9        Chief, Environmental & Community
          Safety Crimes Section
10        U.S. Attorney’s Office
          Central District of California
11
          1300 United States Courthouse
12        312 North Spring Street
          Los Angeles, California 90012
13

14        35.   Notice shall be effective upon actual receipt by the
15   government or Gree Zhuhai or Gree Hong Kong.
16          WAIVER OF STATUTE OF LIMITATIONS AND OTHER TIME DEFENSES
17        36.   Having been fully advised by their attorneys regarding the
18   application of the statute of limitations, the United States
19   Constitution regarding prejudicial pre-indictment delay and the
20   Speedy Trial Act to the Covered Conduct, Gree Zhuhai and Gree Hong
21   Kong hereby knowingly, voluntarily, and intelligently waive,
22   relinquish, and give up:
23              a.    Any right that each of them might have not to be
24   prosecuted for any federal criminal offenses arising out of the
25   Covered Conduct, including, but not limited to, the charge in the
26   Information, because of the expiration of the statute of limitations
27   for the offenses before the filing of the Information or indictment
28   alleging the offenses; and
                                          21
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 1               b.   any defense, claim, or argument each of them could

 2   raise or assert that prosecution for any federal criminal offenses

 3   arising out of the Covered Conduct, including, but not limited to,

 4   the charge in the Information, is barred by the expiration of the

 5   applicable statute of limitations, pre-indictment delay, or any

 6   speedy trial violation.

 7                                BREACH OF AGREEMENT

 8        37.    Gree Zhuhai and Gree Hong Kong agree that if either of them
 9   fails to perform or fulfill any of their obligations in this
10   agreement (“a breach”), the government may declare this agreement
11   breached.
12               a.   All of Gree Zhuhai’s and Gree Hong Kong’s obligations
13   in this agreement are material.       A single breach of this agreement by
14   either Gree Zhuhai or Gree Hong Kong is sufficient for the government
15   to declare a breach of this agreement as to both Gree Zhuhai and Gree
16   Hong Kong.
17               b.   The government’s determination of whether Gree Zhuhai
18   or Gree Hong Kong has breached this agreement is within the
19   government’s sole discretion and is not subject to review in any
20   court or tribunal.     The government’s determination of whether conduct
21   or statements of any current director, officer or employee, or any
22   person acting on behalf of, or at the direction of, Gree Zhuhai or
23   Gree Hong Kong, will be imputed to either Gree Zhuhai or Gree Hong
24   Kong for the purpose of determining whether either of them has
25   breached this agreement shall be in the government’s sole discretion.
26               c.   If the government receives evidence that either Gree
27   Zhuhai or Gree Hong Kong has breached this agreement, the government
28   agrees to give both of them written notice of any alleged breach
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 1   before making a determination of whether the agreement has been

 2   breached.   Within forty-five (45) days of receipt of such notice,

 3   Gree Zhuhai and Gree Hong Kong shall have the opportunity to respond

 4   to the government in writing to explain the nature and circumstances

 5   of such alleged breach, as well as the actions they have taken to

 6   address and remediate the situation.        The government shall consider

 7   their written explanation(s) before making a determination of whether

 8   either of them has breached this agreement.

 9        38.    If the government declares this agreement breached, the

10   following shall occur:

11               a.   the government will be relieved of all of its

12   obligations in this agreement; and

13               b.   Gree Zhuhai and Gree Hong Kong will thereafter be

14   subject to:

15                    i.    prosecution for any federal criminal violation of

16   which the government has knowledge, including, but not limited to,

17   the charge in the Information and any other federal criminal

18   violations relating to the Covered Conduct, which the government may

19   bring in the United States District Court for the Central District of

20   California or any other appropriate venue;

21                    ii.   any civil, administrative, or regulatory action

22   that was either dismissed or not filed because of this agreement; and

23                    iii. the imposition of monetary penalties (“Stipulated

24   Penalties”) as set forth in Paragraph 39 below.

25        39.    Gree Zhuhai and Gree Hong Kong agree that the government,

26   in its sole discretion, may seek the imposition of monetary penalties

27   (“Stipulated Penalties”) for any failure by either Gree Zhuhai or

28   Gree Hong Kong to perform or fulfill any of their obligations in this
                                          23
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 1   agreement, including, but not limited to, any obligations set forth

 2   in the Enhanced Compliance Measures attached to this agreement in

 3   Exhibit D.    Stipulated Penalties shall be calculated as five thousand

 4   dollars ($5,000) per day for each unperformed or unfulfilled

 5   obligation and assessed as follows:

 6                a.   Upon the government’s determination that either Gree

 7   Zhuhai or Gree Hong Kong has failed to perform or fulfill an

 8   obligation in this agreement, the government shall notify them in

 9   writing of their failure and the government’s exercise of its

10   contractual right to demand payment of the Stipulated Penalties (the

11   “Demand Letter”).       The Demand Letter shall set forth:

12                     i.     The obligation that either Gree Zhuhai or Gree

13   Hong Kong has failed, in the government’s determination, to perform

14   or fulfill;

15                     ii.    The date on which either Gree Zhuhai or Gree Hong

16   Kong first failed, in the government’s determination, to perform or

17   fulfill the obligation;

18                     iii. A description of the obligation not met

19   sufficient to permit Gree Zhuhai or Gree Hong Kong to cure (as

20   described below); and

21                     iv.    the amount of Stipulated Penalties claimed by the

22   government as of the date of the Demand Letter.

23                b.   Within forty-five (45) days after receipt of the

24   Demand Letter, or such other period as the government may agree in

25   writing, Gree Zhuhai and/or Gree Hong Kong shall cure their failure

26   to perform or fulfill the obligation identified by the government in

27   the Demand Letter (“Cure Period”).        If the failure is of a type that

28   can be cured and either Gree Zhuhai or Gree Hong Kong cure the
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 1   failure within the Cure Period, no Stipulated Penalties shall be due.

 2   If neither Gree Zhuhai nor Gree Hong Kong cures the failure during

 3   the Cure Period, but one of them then subsequently cures the failure,

 4   Stipulated Penalties calculated from the date on which Gree Zhuhai

 5   and/or Gree Hong Kong first failed to perform or fulfill the

 6   obligation to the date of cure shall be immediately payable to the

 7   government.     If the failure is one that cannot be cured, then

 8   Stipulated Penalties calculated from the date on which Gree Zhuhai

 9   and/or Gree Hong Kong first failed to perform or fulfill the

10   obligation until the date that one of them remediates the failure to

11   the government’s satisfaction shall be immediately payable to the

12   government.

13              c.     Determination of whether Gree Zhuhai and/or Gree Hong

14   Kong have failed to perform or fulfill an obligation in this

15   agreement shall be in the government’s sole discretion.

16   Determinations of whether a failure to perform or fulfill an

17   obligation in this agreement can be cured or has been cured, and

18   determinations of when a failure has been cured or remediated shall

19   all be in the government’s sole discretion.

20              d.     The Stipulated Penalties shall be paid by electronic

21   fund transfer according to wire transfer instructions that will be

22   provided by the government.

23              e.     Gree Zhuhai and Gree Hong Kong agree that the United

24   States District Court for the Central District of California shall

25   have jurisdiction over any action to collect such a penalty.

26              f.     If Gree Zhuhai or Gree Hong Kong fail timely to make a

27   required payment of Stipulated Penalties, interest (at the rate

28
                                          25
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 1   specified in 28 U.S.C. § 1961) shall accrue on the unpaid balance

 2   through the date of payment.

 3        40.   For any criminal, civil, administrative, or regulatory

 4   action brought by the government against Gree Zhuhai or Gree Hong

 5   Kong pursuant to Paragraph 38.b, including to collect Stipulated

 6   Penalties, Gree Zhuhai and Gree Hong Kong agree that:

 7              a.    Any such action may be premised on information

 8   provided by Gree Zhuhai or Gree Hong Kong;

 9              b.    Any applicable statute of limitations for any such

10   action is tolled between October 25, 2017, and the filing commencing

11   any such action;

12              c.    In addition to Gree Zhuhai’s and Gree Hong Kong’s

13   waivers in Paragraph 36, Gree Zhuhai and Gree Hong Kong knowingly,

14   voluntarily, and intelligently waive, relinquish, and give up all

15   defenses based on the statute of limitations, any claim of pre-

16   indictment delay, or any speedy trial claim with respect to any

17   action brought pursuant to Paragraph 38.b, except to the extent that

18   such defenses existed as of October 25, 2017;

19              d.    All statements made by or on behalf of either Gree

20   Zhuhai or Gree Hong Kong to the government or to the Court, including

21   the Statement of Facts attached to this agreement as Exhibit B, and

22   any testimony given by either Gree Zhuhai or Gree Hong Kong before a

23   grand jury, a court, or any tribunal, or at any legislative hearings,

24   whether before or after this agreement, and any leads derived from

25   such statements or testimony, shall be admissible in evidence against

26   either Gree Zhuhai or Gree Hong Kong in any and all actions brought

27   by the government against either Gree Zhuhai or Gree Hong Kong

28   pursuant to Paragraph 38.b; and
                                          26
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 1              e.    Gree Zhuhai and Gree Hong Kong knowingly, voluntarily,

 2   and intelligently waive, relinquish, and give up any claim under the

 3   United States Constitution, any statute, Rule 410 of the Federal

 4   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

 5   Procedure, or any other federal rule, that the statements in

 6   Paragraph 40.d or any evidence derived from those statements should

 7   be suppressed or are inadmissible and neither Gree Zhuhai nor Gree

 8   Hong Kong shall assert any claim under the United States

 9   Constitution, Rule 11(f) of the Federal Rules of Criminal Procedure,

10   Rule 410 of the Federal Rules of Evidence, or any other federal rule

11   that any such statements or testimony made by or on behalf of either

12   Gree Zhuhai or Gree Hong Kong before or after this agreement, or any

13   leads derived therefrom, should be suppressed or are otherwise

14   inadmissible.

15        41.   Gree Zhuhai and Gree Hong Kong acknowledge that the

16   government has made no representations, assurances, or promises

17   concerning what sentence may be imposed by the Court if the

18   government declares this agreement breached and this matter proceeds

19   to judgment.    Gree Zhuhai and Gree Hong Kong further acknowledge that

20   any such sentence is solely within the discretion of the Court and

21   that nothing in this agreement binds or restricts the Court in the

22   exercise of such discretion.

23              PUBLIC STATEMENTS BY GREE ZHUHAI AND GREE HONG KONG

24        42.   Gree Zhuhai and Gree Hong Kong agree that they shall not,
25   through their present or future attorneys, officers, directors,
26   agents, management level employees, or any other person authorized to
27   speak for them, make any public statement, in litigation or
28   otherwise, contradicting in whole or in part the facts described in
                                          27
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 1   the Statement of Facts attached to this agreement in Exhibit B.                The

 2   decision whether any public statement by any such person

 3   contradicting a fact contained in the Statement of Facts will be

 4   imputed to Gree Zhuhai or Gree Hong Kong shall be at the sole

 5   discretion of the government.

 6                     COURT AND PROBATION OFFICE NOT PARTIES

 7         43.   Gree Zhuhai and Gree Hong Kong understand that the Court
 8   and the United States Probation Office are not parties to this
 9   agreement.
10                                     PUBLICATION
11         44.   Within ten (10) days of the Effective Date of this
12   agreement, Gree Zhuhai and Gree Hong Kong agree to make the
13   Information, this agreement, and the Statement of Facts conspicuously
14   available to the public on the Gree website
15   (https://global.gree.com/usa/) for two (2) years after the Effective
16   Date of this agreement.
17                             NO ADDITIONAL AGREEMENTS
18         45.   Gree Zhuhai and Gree Hong Kong understand that, except as
19   set forth herein, there are no promises, understandings, or
20   agreements between the government and Gree Zhuhai or Gree Hong Kong
21   or their attorneys, and that no additional promise, understanding, or
22   agreement may be entered into unless in writing and signed by all
23   parties or on the record in court.
24   ///
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 1                                      EXHIBIT A
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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                CR No.

11             Plaintiff,                     I N F O R M A T I O N

12             v.                             [15 U.S.C. §§ 2068(a)(4), 2070:
                                              Knowing and Willful Failure to
13   GREE ELECTRIC APPLIANCES, INC.           Report Information Regarding
        OF ZHUHAI,                            Consumer Product Safety Defects,
14   HONG KONG GREE ELECTRIC                  Hazards, and Risks; 15 U.S.C.
        APPLIANCES SALES CO., LTD.,           § 2070(c)(1), 18 U.S.C.
15      and                                   § 981(a)(1)(C), 21 U.S.C. § 853,
     GREE USA, INC.,                          28 U.S.C. § 2461(c): Criminal
16                                            Forfeiture]
               Defendants.
17

18

19        The United States Department of Justice’s Consumer Protection
20   Branch and the Acting United States Attorney for the Central District
21   of California charge:
22                         [15 U.S.C. §§ 2068(a)(4), 2070]
23                                  [ALL DEFENDANTS]
24   A.   INTRODUCTORY ALLEGATIONS
25        1.    By at least September 2012, in Los Angeles County, within
26   the Central District of California, and elsewhere, defendants GREE
27   ELECTRIC APPLIANCES, INC. OF ZHUHAI, HONG KONG GREE ELECTRIC
28   APPLIANCES SALES CO., LTD., and GREE USA, INC., obtained information
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 1   which reasonably supported the conclusion that dehumidifiers

 2   manufactured, distributed, and sold in interstate commerce by the

 3   defendants contained a defect that caused those dehumidifiers to

 4   overheat and catch fire, creating a substantial product hazard, and

 5   created an unreasonable risk of serious injury and death to United

 6   States consumers who operated the dehumidifiers in their homes and

 7   businesses.

 8        2.    Despite knowing that they were required immediately to

 9   inform the United States Consumer Product Safety Commission of the

10   defects and risks of those dehumidifiers they manufactured,

11   distributed, and sold in interstate commerce, defendants GREE

12   ELECTRIC APPLIANCES, INC. OF ZHUHAI, HONG KONG GREE ELECTRIC

13   APPLIANCES SALES CO., LTD., and GREE USA, INC., knowingly and

14   willfully failed to inform the United States Consumer Product Safety

15   Commission of those dehumidifiers’ defects and risks until in or

16   about June 2013.

17   B.   KNOWING AND WILLFUL FAILURE TO REPORT INFORMATION REGARDING

18        CONSUMER PRODUCT SAFETY DEFECTS, HAZARDS, AND RISKS
19        3.    From on or about September 19, 2012, through at least on or
20   about June 2013, in Los Angeles County, within the Central District
21   of California, and elsewhere, defendants GREE ELECTRIC APPLIANCES,
22   INC. OF ZHUHAI, HONG KONG GREE ELECTRIC APPLIANCES SALES CO., LTD.,
23   and GREE USA, INC., knowingly and willfully failed to immediately
24   report to the United States Consumer Product Safety Commission upon
25   receiving information that reasonably supported the conclusion that
26   the Chinese dehumidifiers contained a defect that could create a
27   substantial product hazard, and created an unreasonable risk of
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 1   serious injury and death, as required by Title 15, United States

 2   Code, Section 2064(b)(3) and (4).

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 1                              FORFEITURE ALLEGATIONS

 2    [15 U.S.C. § 2070(c)(1); 18 U.S.C. § 981(a)(1)(C); 21 U.S.C. § 853;

 3                               28 U.S.C. § 2461(c)]

 4         4.   Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby

 5   given to the defendants that the United States will seek forfeiture

 6   as part of any sentence in accordance with Title 15, United States

 7   Code, Section 2070(c)(1) and Title 28, United States Code, Section

 8   2461(c) in the event of any defendant’s conviction under the sole

 9   count of this Information:

10         5.   Defendants shall forfeit the following property to the

11   United States of America:

12               a.   all right, title, and interest in any and all property

13   associated with any violation of the sole count of this Information;

14   and

15               b.   to the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subsection a.

18         7.   Pursuant to Title 21, United States Code, Section 853(p), as

19   incorporated by Title 28, United States Code, Section 2461(c), each

20   defendant shall forfeit substitute property, up to the total value of

21   the property described in the preceding paragraph, if, as a result of

22   //

23   //

24   //

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 1   any act or omission of a defendant, the property described in the

 2   preceding paragraph, or any portion thereof: (a) cannot be located

 3   upon the exercise of due diligence; (b) has been transferred or sold

 4   to, or deposited with a third party; (c) has been placed beyond the

 5   jurisdiction of the court; (d) has been substantially diminished in

 6   value; or (e) has been commingled with other property that cannot be

 7   divided without difficulty.

 8   TRACY L. WILKISON                        GUSTAV W. EYLER
     Acting United States Attorney            Director
 9                                            Consumer Protection Branch
10

11
     SCOTT M. GARRINGER                       ALLAN GORDUS
12   Assistant United States Attorney         NATALIE N. SANDERS
     Chief, Criminal Division                 MARYANN N. MCGUIRE
13                                            Trial Attorneys
     JOSEPH O. JOHNS                          Consumer Protection Branch
14   DENNIS MITCHELL                          Civil Division
     Assistant United States Attorneys        U.S. Department of Justice
15   Environmental & Community Safety
       Crimes Section
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 1                                     Exhibit B

 2                                Statement of Facts

 3        Defendants Gree Electric Appliances, Inc. of Zhuhai (“Gree

 4   Zhuhai”), Gree USA, Inc. (“Gree USA”), and Hong Kong Gree Electric

 5   Appliances Sales Co., Ltd. (“Gree Hong Kong”) (collectively the

 6   “Gree Companies”) hereby agree and stipulate that the following

 7   information is true and accurate.          The Gree Companies admit, accept,

 8   and acknowledge that they are responsible for the acts of their

 9   officers, directors, employees, and agents as set forth below.            The

10   Gree Companies also admit, accept, and acknowledge that, had this

11   matter proceeded to trial, the government would have proven beyond a

12   reasonable doubt, by admissible evidence, the facts set forth below.

13                                The Gree Companies

14        1.   From 2007 to September 2013, Gree Zhuhai was a large

15   Chinese company that manufactured household appliances (“Gree

16   appliances”) for sale in and outside of China, including in the

17   United States.

18        2.   From 2007 to September 2013, Gree Hong Kong was a Chinese

19   subsidiary of Gree Zhuhai that exported Gree appliances to the

20   United States.

21        3.   From 2010 to September 2013, Gree USA was a California

22   corporation with offices in City of Industry, California, and a

23   subsidiary of Gree Hong Kong.       Gree USA sold Gree appliances to

24   retailers in the United States.       Those Gree appliances were

25   manufactured by Gree Zhuhai and imported into the United States by

26   Gree Hong Kong and Gree USA.       Gree USA was a joint venture between

27   Gree Hong Kong and another company, MJC America Holdings Co., Inc.

28   (“MJC America Holdings”).      Gree Hong Kong was the majority owner of

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 1   Gree USA.     Gree USA’s Chief Executive Officer (“CEO”), Chief

 2   Financial Officer (“CFO”), who was the brother of Gree USA’s CEO,

 3   and Chief Administrative Officer (“CAO”) were owners of MJC America

 4   Holdings.     Gree USA’s CEO, CFO and CAO effectively controlled Gree

 5   USA.

 6          4.   From 2010 to September 2013, Gree USA sold in the United

 7   States dehumidifiers manufactured by Gree Zhuhai and imported into

 8   the United States by Gree Hong Kong (“Gree dehumidifiers”).

 9                   The Consumer Product Safety Commission and

10                        the Consumer Product Safety Act

11          5.   The Consumer Product Safety Act (the “CPSA”) was enacted to

12   protect the public from dangerous consumer products.

13          6.   The United States Consumer Product Safety Commission (the

14   “CPSC”) is the federal agency responsible for protecting consumers

15   from dangerous consumer products and is the lead federal agency

16   responsible for the implementation, enforcement, and administration

17   of the CPSA.     The CPSC can order mandatory recalls of dangerous

18   products.

19          7.   The CPSA requires companies that manufacture, import,

20   distribute, or sell consumer products to inform the CPSC, among

21   other things, about any consumer product about which information

22   reasonably supports the conclusion that such product contains a

23   defect that could create a substantial product hazard, or creates an

24   unreasonable risk of serious injury or death.          This duty to report

25   also applies to the individual directors, officers, and agents of

26   those companies.     A company’s or an individual’s knowing and willful

27   failure to report an unsafe product to the CPSC is punishable as a

28   felony violation of the CPSA.

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 1              The Gree Companies Learn that Their Dehumidifiers

 2                                 Are Catching Fire

 3        8.   On or about July 26, 2012, the CEO of Gree USA saw a video

 4   of a burning Gree dehumidifier.       On July 26, 2012, Gree USA’s CEO

 5   sent the video to a Gree Hong Kong manager (“Gree Hong Kong Manager

 6   #1”), who was also a director of Gree Hong Kong and in charge of

 7   exporting Gree appliances for sale in the United States, copying

 8   other Gree USA employees and a Gree Zhuhai employee.           In sending the

 9   video, Gree USA’s CEO labeled the email “urgent,” and said that the

10   video was “scarey [sic] to just watch” and a “very serious issue

11   with GREE product quality.”      Gree USA’s CEO also stated that the

12   video was the third reported instance of a Gree appliance catching

13   fire since in or about June 2012 and that it could lead to lawsuits

14   against Gree USA as well as a recall costing millions of dollars.

15   Gree USA’s CEO knew that the Gree Companies had an obligation to

16   inform the CPSC immediately of any consumer product that contained a

17   defect creating a substantial product hazard or that created an

18   unreasonable risk of serious injury or death.

19        9. Gree Hong Kong Manager #1, replied to the July 26, 2012

20   email from Gree USA’s CEO that same day.         In his reply email, Gree

21   Hong Kong Manager #1 said that “[w]e also felt shock when we watched

22   the video[,]” and that he had sent the video to Gree Zhuhai’s

23   Quality Department and to Gree Zhuhai’s chief engineer who was also

24   its senior vice president for research and development.

25                 The Gree Companies Learn that Two Defects in

26             Their Dehumidifiers are Causing Them to Catch Fire

27        10. During August 2012, Gree USA and Gree Zhuhai employees,

28   engineers and officers investigated the Gree dehumidifiers for

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 1   potential defects that could cause them to catch fire.           No employee

 2   of Gree USA or Gree Zhuhai informed the CPSC of a defect or risk

 3   associated with the Gree dehumidifiers in August 2012.

 4        11. On September 4, 2012, Gree USA’s CEO emailed Gree Hong Kong

 5   Manager #1 about the Gree dehumidifiers.         The CEO stated that Gree

 6   USA had tested its dehumidifier inventory in Gree USA’s warehouse

 7   and the testing showed that these dehumidifiers burned.           The CEO

 8   stated “the result is not like what you have told us” regarding how

 9   many units were involved because “the result shows the units all can

10   catch the fire and apparently the material is not according to UL

11   standard! I don’t think the factory is telling us the fact and

12   truth. . . .”    The CEO stated that, because of Gree USA’s test

13   results, he would have the dehumidifiers further tested for

14   compliance with UL (formerly Underwriters Laboratory) standards and

15   was planning to inform the CPSC about the Gree dehumidifiers.

16        12.   On September 5, 2012, Gree Hong Kong Manager #1 emailed

17   Gree USA’s CEO instructing “Gree USA to resolve the claim and CPSC

18   case” and stating that Gree Zhuhai would “fully indemnify Gree USA

19   for any expense and responsibility.”        That same day, Gree USA’s CEO

20   replied and requested more details regarding who would pay the costs

21   that could result from the Gree dehumidifiers and when they would

22   pay, and offered to handle reporting the Gree dehumidifiers to the

23   CPSC if Gree Zhuhai would agree to pay all future costs related to

24   the dehumidifiers’ defects.      Gree Hong Kong Manager #1 replied on

25   September 6, 2012, stating that they were willing to agree to

26   compensate expenses in a timely manner and that Gree USA “would be

27   the single entity to reply insurance company and CPSC, [and] we will

28   provide the necessary supports of test records and technical

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 1   information if you need any.”       After these communications, no one

 2   from the Gree Companies informed the CPSC about the Gree

 3   dehumidifiers or their defects.

 4        13. On September 10, 2012, Gree USA’s CEO emailed the highest

 5   ranking person at Gree Zhuhai, the chairperson of Gree Zhuhai’s

 6   board who also served as Gree Zhuhai’s President and CEO, copying no

 7   one else from Gree Zhuhai or Gree Hong Kong.         In this email, Gree

 8   USA’s CEO stated that “GREE headquarters” had told him not to report

 9   the Gree dehumidifiers to the CPSC.        Specifically, the Gree USA CEO

10   stated that “GREE headquarters” had told him not to report that the

11   Gree dehumidifiers may be defective and catch on fire and that they

12   might have overheating parts and plastic parts that could burn

13   because the plastic did not meet the UL standard for fire

14   resistance.    Gree USA’s CEO warned in his email that any company or

15   individual who withheld from the CPSC information about a dangerous

16   product could face severe punishment, including criminal

17   prosecution.    Gree USA’s CEO asked how Gree Zhuhai would pay future

18   costs related to the Gree dehumidifiers, including any potential

19   harm to MJC America Ltd. (“MJC America”), a company owned by Gree

20   USA’s CEO, CFO and CAO which also sold the defective Gree

21   dehumidifiers.    Gree USA’s CEO stated that if Gree Zhuhai did not

22   give him clear instructions on how to handle the Gree dehumidifiers

23   within a matter of days, then he would inform the CPSC about the

24   dehumidifiers.    No one replied to this email.

25        14. On September 13, 2012, Gree USA’s CEO sent another email to

26   Gree Hong Kong Manager #1.      In this email, Gree USA’s CEO discussed

27   how a recall of the defective Gree dehumidifiers might be handled

28   and attached the CPSC’s “Recall Handbook.”         Gree USA’s CEO also

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 1   discussed the financial costs and lost sales that could result from

 2   a recall.   He did not express any consideration or concern about how

 3   defective Gree dehumidifiers could harm consumers.          Gree USA’s CEO

 4   asked Gree Hong Kong Manager #1 to forward this email to Gree

 5   Zhuhai’s chief engineer.

 6        15. On September 19, 2012, Gree Hong Kong Manager #1 came to

 7   Gree USA’s offices in City of Industry, California, to meet with

 8   Gree USA’s CEO.    A Gree Zhuhai engineer and three other Gree USA

 9   officers also participated in the meeting.         This meeting was audio

10   recorded by agreement.

11        16. At this September 19 meeting, Gree Hong Kong Manager #1

12   stated that Gree Zhuhai’s testing of the Gree dehumidifiers was not

13   able to reproduce the reported fire, but had revealed two defects:

14   (1) the dehumidifiers used plastics that did not meet UL standards

15   for fire resistance; and (2) electrical arcing caused by the

16   dehumidifiers’ compressors overheating could burn the non-UL

17   standard plastic used in these dehumidifiers.          The Gree Zhuhai

18   engineer at the meeting also discussed these defects.           Gree Hong

19   Kong Manager #1 stated that he was aware of at least five consumer

20   reports of Gree dehumidifiers overheating and catching fire but that

21   Gree Zhuhai “still believe[d] that the fire case is a relatively

22   isolated case . . . associated with atrocious conditions.”            He also

23   stated that Gree Zhuhai would modify the manufacture of all future

24   dehumidifiers to fix this problem so they would not catch fire.

25         The Gree Companies Decide To Delay Reporting and Recalling

26                          Their Defective Dehumidifiers

27           17. At this same September 19 meeting, Gree Hong Kong Manager

28   #1 said that the meeting participants’ decisions on what to do about

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 1   the Gree dehumidifiers should be guided by the principle of

 2   minimizing the costs and loss of reputation to the Gree Companies.

 3   Gree Hong Kong Manager #1 said that Gree Zhuhai wanted to delay any

 4   recall of the dehumidifiers for 6 to 9 months because delaying a

 5   recall would reduce the recall’s effect on Gree dehumidifier sales.

 6   Gree Hong Kong Manager #1 stated that an immediate recall would have

 7   a significant, and negative, effect on 2012 and 2013 Gree

 8   dehumidifier sales.     Gree Hong Kong Manager #1 stated that a recall

 9   could be delayed 6 to 9 months because cooler fall and winter

10   temperatures would help prevent Gree dehumidifiers from overheating

11   and catching fire, and that there should be very few, if any,

12   dehumidifier fires in the 6 to 9 months following September 2012.

13        18. In response to what Gree Hong Kong Manager #1 said, Gree

14   USA’s CEO said at the meeting that the Gree dehumidifiers’ defects

15   were very significant and had important legal implications.            But the

16   Gree USA CEO did not push to inform the CPSC of the dehumidifiers.

17   Rather, Gree USA’s CEO recommended only that the Gree Companies have

18   another company test the Gree dehumidifiers and then decide whether

19   to delay the recall.     Gree Hong Kong Manager #1 responded by urging

20   the Gree USA officers not to conduct such a test of the Gree

21   dehumidifiers because that test would show that the dehumidifiers

22   used plastic that did not meet UL standards for fire resistance.

23   Gree USA’s CEO said that the Gree USA officers understood what Gree

24   Zhuhai was asking them to do and needed time to think before making

25   a decision about how to proceed.

26        19. Two days after the September 19, 2012 meeting, Gree USA’s

27   CEO sent an email to Gree Zhuhai’s chief engineer and copied the

28   email to Gree Zhuhai’s board chairperson.         In his September 21, 2012

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 1   email, Gree USA’s CEO said that he understood that Gree Zhuhai

 2   wanted to delay a recall of the Gree dehumidifiers for 6 to 9

 3   months.   Gree USA’s CEO also said that he thought that the Gree

 4   dehumidifiers were still likely to catch fire, and that, after

 5   careful consideration, Gree USA’s officers had decided to report the

 6   Gree dehumidifiers to the United States government.

 7        20. The next day, Gree Zhuhai’s chief engineer replied to the

 8   September 21, 2012 email from Gree USA’s CEO without copying Gree

 9   Zhuhai’s board chairperson.      In his September 22, 2012 email, Gree

10   Zhuhai’s chief engineer said that Gree Zhuhai had clearly expressed

11   its opinion about how to handle the defective Gree dehumidifiers,

12   and that he hoped Gree USA’s CEO would follow that opinion.            Gree

13   Zhuhai’s chief engineer said that he had no authority to approve

14   what Gree USA’s CEO proposed in his September 21, 2012 email and

15   that he hoped Gree USA’s CEO would report his decision on how to

16   handle the defective Gree dehumidifiers to Gree Zhuhai’s board

17   chairperson and listen to her opinion.

18        21. On September 28, 2012, Gree USA’s CEO sent an email to Gree

19   Zhuhai’s board chairperson, copying no one else from Gree Zhuhai or

20   Gree Hong Kong.    In his email, Gree USA’s CEO stated again that

21   Gree’s dehumidifiers had two known defects: (1) the compressors in

22   the dehumidifiers could overheat; and (2) the plastic in the

23   dehumidifiers did not meet UL standards for fire resistance, meaning

24   that the plastic would burn when overheated.         Gree USA’s CEO said

25   that it was known that these two defects could cause the

26   dehumidifiers to catch fire and that there were numerous consumer

27   complaints about the dehumidifiers in fact catching fire.            Gree

28   USA’s CEO also said that the Gree Companies had sold millions of

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 1   these defective dehumidifiers.       Gree USA’s CEO further related that

 2   he believed the Gree Companies should recall the dehumidifiers and

 3   warn consumers that using them could result in personal injuries and

 4   property damage, but that Gree Zhuhai had not agreed to a recall.

 5   Gree USA’s CEO warned that a recall could cost hundreds of millions

 6   of dollars, would harm the reputation of Gree products, and would

 7   reduce the Gree Companies’ market share.         But Gree USA’s CEO also

 8   warned that if Gree Zhuhai did not reach an agreement with Gree USA

 9   on the recall of the dehumidifiers, then Gree USA unilaterally would

10   report the Gree dehumidifiers to the United States government.            Gree

11   USA’s CEO concluded his email by saying that this was a very

12   important and urgent matter.       Neither Gree Zhuhai’s board

13   chairperson nor anyone else at Gree Zhuhai replied to this email.

14        22. Despite the Gree USA’s CEO’s September 4, 10, 21, and 28,

15   2012 emails, no employee of the Gree Companies reported the Gree

16   dehumidifiers’ defects or risks, or the known consumer complaints of

17   fires related to the dehumidifiers, to the CPSC in September 2012.

18        23. In September 2012, Gree USA sold at least 24,999 defective

19   Gree dehumidifiers to retailers in the United States for

20   approximately $2,558,019.      The Gree Companies knew that the

21   retailers wanted dehumidifiers that met all UL standards and did not

22   burn when overheated.     The Gree Companies knew that Gree USA

23   represented to its retailers that the Gree dehumidifiers met all UL

24   standards.   Gree USA’s CEO, CFO and CAO knew that Gree USA’s

25   representations that these Gree dehumidifiers met all UL standards

26   were false when these dehumidifiers were sold.

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 1                      The Gree Companies Continue to Sell

 2             Their Defective Dehumidifiers in the United States

 3                       Without Reporting Them to the CPSC

 4        24. On October 19, 2012, a sales representative for Gree USA

 5   met in person with Gree Zhuhai’s board chairperson in China.            During

 6   this meeting, the sales representative discussed the defective Gree

 7   dehumidifiers with Gree Zhuhai’s board chairperson.           Gree Zhuhai’s

 8   board chairperson said that she would send a new Gree Hong Kong

 9   manager (“Gree Hong Kong Manager #2”) to the United States to

10   address the problems associated with the dehumidifiers.

11        25. In October 2012, Gree USA sent to Gree Zhuhai new consumer

12   reports of fires related to the Gree dehumidifiers.           These reports

13   contradicted Gree Hong Kong Manager #1’s statements at the

14   September 19 meeting that a recall could be delayed 6 to 9 months

15   because cooler fall and winter temperatures would help prevent

16   dehumidifiers from overheating and catching fire and that there

17   should be very few, if any, dehumidifier fires in the 6 to 9 months

18   following September 2012.      Despite these new consumer reports of

19   fires caused by Gree dehumidifiers, no employee of the Gree

20   Companies informed the CPSC about the dehumidifiers’ defects or

21   risks in October 2012.

22        26. In October 2012, Gree USA sold at least 2,938 defective

23   Gree dehumidifiers to retailers in the United States for

24   approximately $429,426.      The Gree Companies knew that the retailers

25   wanted dehumidifiers that met all UL standards and did not burn when

26   overheated.    The Gree Companies knew that Gree USA represented to

27   its retailers that the Gree dehumidifiers met all UL standards.

28   Gree USA’s CEO, CFO and CAO knew that Gree USA’s representations

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 1   that these Gree dehumidifiers met all UL standards were false when

 2   these dehumidifiers were sold.

 3           The Gree Companies Receive Another Test Report Showing

 4            That Their Dehumidifiers are Defective and Dangerous

 5        27. In late October 2012, Gree USA sent two Gree dehumidifiers

 6   to an independent testing company for testing.          On November 5, 2012,

 7   the testing company wrote a report confirming and reiterating that

 8   the Gree dehumidifiers were defective because the compressors in the

 9   dehumidifiers could run continuously and thereby overheat to an

10   “extreme high temperature.”      Gree USA’s CEO received this report on

11   November 6, 2012.     Gree USA’s CEO immediately sent the report to

12   Gree Hong Kong Manager #2, who had taken over responsibility for the

13   importation and sale of the Gree dehumidifiers in the United States

14   from Gree Hong Kong Manager #1.

15                      The Gree Companies Continue to Sell

16             Their Defective Dehumidifiers in the United States

17                       Without Reporting Them to the CPSC

18        28. At the end of November 2012, Gree USA’s CEO told Gree Hong

19   Kong Manager #2 that an attorney advised him to inform the CPSC

20   immediately of all consumer reports of fires related to the Gree

21   dehumidifiers.    Despite this legal advice and the November 5, 2012

22   test report reiterating that the Gree dehumidifiers were dangerously

23   defective, no employee of the Gree Companies informed the CPSC about

24   the dehumidifiers’ defects, risks, or reported fires in November

25   2012.

26        29. In November 2012, Gree USA sold at least 6,817 defective

27   Gree dehumidifiers to retailers in the United States for

28   approximately $792,067.      The Gree Companies knew that the retailers

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 1   wanted dehumidifiers that met all UL standards and did not burn when

 2   overheated.    The Gree Companies knew that Gree USA represented to

 3   its retailers that the Gree dehumidifiers met all UL standards.

 4   Gree USA’s CEO, CFO and CAO knew that Gree USA’s representations

 5   that these Gree dehumidifiers met all UL standards were false when

 6   these dehumidifiers were sold.

 7             The Gree Companies Have Yet Another Meeting to Discuss

 8      Their Defective Dehumidifiers But Still Do Not Inform the CPSC

 9        30. On December 18, 2012, Gree USA’s CEO and another Gree USA

10   officer went with an attorney to Hong Kong to meet with Gree Hong

11   Kong Manager #2, a Gree Zhuhai engineer, Gree Zhuhai’s Chief

12   Financial Officer (“CFO”) and three attorneys representing Gree

13   Zhuhai.    At this meeting, Gree USA’s CEO discussed the November 5,

14   2012 test report with Gree Hong Kong Manager #2, the Gree Zhuhai

15   engineer and the Gree Zhuhai CFO.       Gree Hong Kong Manager #2, the

16   Gree Zhuhai engineer and the Gree Zhuhai CFO told Gree USA’s CEO

17   that Gree Zhuhai would test the Gree dehumidifiers and let him know

18   the results of their testing.

19        31. No employee of the Gree Companies informed the CPSC about

20   the dehumidifiers’ defects, risks, or reported fires in December

21   2012.

22        32. In December 2012, Gree USA sold at least 1,395 defective

23   Gree dehumidifiers to retailers in the United States for

24   approximately $201,835.      The Gree Companies knew that the retailers

25   wanted dehumidifiers that met all UL standards and did not burn when

26   overheated.    The Gree Companies knew that Gree USA represented to

27   its retailers that the Gree dehumidifiers met all UL standards.

28   Gree USA’s CEO, CFO and CAO knew that Gree USA’s representations

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 1   that these Gree dehumidifiers met all UL standards were false when

 2   these dehumidifiers were sold.

 3                   The Gree Companies Decide to Keep Selling

 4             Their Defective Dehumidifiers in the United States

 5                       Without Reporting Them to the CPSC

 6        33. On January 23, 2013, a Gree USA officer sent an email to

 7   Gree Hong Kong Manager #2.      The email stated that Gree USA’s and MJC

 8   America’s insurance company suggested that Gree USA report the Gree

 9   dehumidifiers to the CPSC and recall all of the defective Gree

10   dehumidifiers.    The email also stated that the insurance company

11   “wanted to know if any actions were taken to test the product design

12   in case it is defective” and was told that “the product was

13   submitted to several different testing and no faulty [sic] in the

14   design was found[,] also that new production has an extra

15   protection[.]”    The Gree USA officer further reported in her email

16   that Gree USA had received a new consumer report of a dehumidifier

17   fire and asked how Gree USA should handle this report.

18        34. Also on January 23, 2013, Gree Zhuhai told Gree USA in

19   writing that it had tested its dehumidifiers and that they were not

20   defective and could be sold in the United States.          Gree Zhuhai did

21   not provide Gree USA with any details on its testing or explain the

22   inconsistency in its test results with those of all prior tests of

23   the Gree dehumidifiers.

24        35. Despite the recommendation of Gree USA’s insurance company

25   to report the Gree dehumidifiers to the CPSC and recall the

26   defective Gree dehumidifiers, and the new consumer report of fire,

27   no employee of the Gree Companies informed the CPSC about the

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 1   dehumidifiers’ defects, risks, or reported fires in January or

 2   February 2013.

 3        36. Gree USA sold at least 7,609 and 29,857 defective Gree

 4   dehumidifiers in January and February 2013, respectively, to

 5   retailers in the United States for approximately $905,291, and

 6   $3,255,542, respectively.      The Gree Companies knew that the

 7   retailers wanted dehumidifiers that met all UL standards and did not

 8   burn when overheated.     The Gree Companies knew that Gree USA

 9   represented to its retailers that the Gree dehumidifiers met all UL

10   standards.   Gree USA’s CEO, CFO and CAO knew that Gree USA’s

11   representations that these Gree dehumidifiers met all UL standards

12   were false when these dehumidifiers were sold.

13      The Gree Companies Finally Report Their Defective Dehumidifiers

14            to the CPSC but Continue to Sell Those Dehumidifiers

15                               in the United States

16        37. On March 14, 2013, Gree USA, Gree Zhuhai, and MJC America

17   made an initial report to the CPSC about their dehumidifiers.            The

18   initial report stated that they had sold approximately 1.6 million

19   Gree dehumidifiers in the United States since 2010, and that

20   consumers who had purchased those dehumidifiers had reported fires,

21   overheating, smoke, odors, and property damage related to these

22   dehumidifiers.    The initial report did not mention the defects in

23   the Gree dehumidifiers that caused the dehumidifiers to burn.

24        38. Gree USA sold at least 6,025 and 7,596 defective Gree

25   dehumidifiers in March and April 2013, respectively, to retailers in

26   the United States for approximately $571,702 and $799,244,

27   respectively.    The Gree Companies knew that the retailers wanted

28   dehumidifiers that met all UL standards and did not burn when

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 1   overheated.    The Gree Companies knew that Gree USA represented to

 2   its retailers that the Gree dehumidifiers met all UL standards.

 3   Gree USA’s CEO, CFO and CAO knew that Gree USA’s representations

 4   that these Gree dehumidifiers met all UL standards were false when

 5   these dehumidifiers were sold.

 6        39. On April 23, 2013, the Chief Administrative Officer of Gree

 7   USA received an independent test report showing that the plastic

 8   used in four Gree dehumidifiers made in 2010, 2011, and 2012 did not

 9   meet UL standards for fire resistance.

10        40. On April 30, 2013, Gree USA, Gree Zhuhai, and MJC America

11   made a second, more comprehensive report to the CPSC about their

12   defective Gree dehumidifiers.       This report stated that Gree USA,

13   Gree Zhuhai, and MJC America sold approximately 1.84 million of the

14   Gree dehumidifiers and that they had not concluded that these Gree

15   dehumidifiers posed a substantial product hazard or that the

16   dehumidifiers needed to be recalled.        This report listed nineteen

17   known consumer reports of fires involving Gree dehumidifiers with

18   all but one of the fires occurring between June 14, 2012 and April

19   15, 2013.

20        41. After their April 30, 2013 report to the CPSC, the Gree

21   Companies continued to receive consumer reports of fires caused by

22   Gree dehumidifiers.

23        42. The Gree Companies received at least $9,500,000 from the

24   distribution and wholesale of defective Gree dehumidifiers from

25   September 2012 through April 2013.         Additionally, the Gree Companies

26   received at least $29,500,000 from the distribution and wholesale of

27   other non-defective Gree dehumidifiers from September 2012 through

28   April 2013.

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 1        43. United States consumers lost at least $17,400,000 by

 2   purchasing defective and dangerous Gree dehumidifiers manufactured,

 3   distributed, or sold by the Gree Companies from September 2012

 4   through April 2013.

 5        44. From September 2012 to April 2013, United States consumers

 6   sustained at least $2,100,000 worth of property damaged or destroyed

 7   in fires caused by the defective Gree dehumidifiers.

 8         The Gree Companies Imported Their Defective Dehumidifiers

 9                          With False UL Certifications

10        45. Between 2010 and at least until September 2012, the Gree

11   Companies imported into the United States Gree dehumidifiers with

12   certifications that the dehumidifiers met all UL standards, when in

13   fact the dehumidifiers did not meet UL standards.

14                       The Gree Companies Finally Recall

15                          Their Defective Dehumidifiers

16        46. By mid-July 2013, Gree Zhuhai decided to recall its

17   defective Gree dehumidifiers and notified the CPSC of this decision.

18   After making this decision, Gree Zhuhai started to plan for the

19   recall.

20        47. On September 12, 2013, Gree Zhuhai and the CPSC announced a

21   voluntary recall of 2.2 million Gree dehumidifiers in the United

22   States.

23        48. Despite its recall, Gree Zhuhai has received hundreds of

24   consumer reports of fires and overheating caused by defective Gree

25   dehumidifiers.    Consumers have reported more than 2,000 incidents

26   involving Gree dehumidifiers, including 450 fires and more than

27   $19,000,000 in property damage.

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 1        49. No later than September 19, 2012, each of the Gree

 2   Companies had information which reasonably supported the conclusion

 3   that their Gree dehumidifiers: (1) contained defects which created a

 4   substantial product hazard, that is, a substantial risk of injury to

 5   the public; and (2) created an unreasonable risk of serious injury

 6   or death.   After learning this information, each of the Gree

 7   Companies knowingly and willfully failed immediately to inform the

 8   United States Consumer Product Safety Commission about these

 9   dangerous defects in their Gree dehumidifiers or the dangerous risks

10   posed by their Gree dehumidifiers.

11        50. As a result of the Gree Companies’ failure to report

12   immediately their defective Gree dehumidifiers to the United States

13   Consumer Product Safety Commission, the Gree Companies were able to

14   continue to distribute and wholesale their dehumidifiers, including

15   defective Gree dehumidifiers, from September 2012 through April

16   2013, and received more than $39,000,000 in proceeds from this

17   distribution and wholesale of Gree dehumidifiers.          For purposes of

18   forfeiture, the approximately $39,000,000 that the Gree Companies

19   received are assets associated with their failure to report

20   immediately their defective Gree dehumidifiers to the United States

21   Consumer Product Safety Commission in violation of 15 U.S.C.

22   §§ 2068(a)(4) and 2070.

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 1                                     Exhibit D

 2                          Enhanced Compliance Measures

 3                             I.    Compliance Program

 4        So as to address and further reduce the risk of any recurrence

 5   of the misconduct at issue in this matter, Defendants Gree Electric

 6   Appliances, Inc. of Zhuhai (“Gree Zhuhai”), Hong Kong Gree Electric

 7   Appliances Sales Co., Ltd. (“Gree Hong Kong”), and Gree USA, Inc.

 8   (“Gree USA”) (collectively the “Gree Companies”) hereby agree as

 9   part of Gree USA’s Plea Agreement and Gree Zhuhai’s and Gree Hong

10   Kong’s Deferred Prosecution Agreement with the United States

11   Department of Justice’s Consumer Protection Branch and the United

12   States Attorney’s Office for the Central District of California

13   (“the government”) to adopt and maintain, or modify as necessary,

14   compliance programs, including internal controls, compliance

15   policies, and procedures (collectively the “Compliance Program”) to

16   ensure product safety and compliance with the Consumer Product

17   Safety Act, 15 U.S.C. § 2051 et seq. (“CPSA”), and regulations and

18   agreements enforced by the United States Consumer Product Safety

19   Commission (“CPSC”) with respect to any consumer product

20   manufactured, imported, distributed, or sold by the Gree Companies

21   in the United States.     The Compliance Program, at a minimum, shall

22   contain the following elements:

23                  Written Standards, Policies and Procedures

24        1.     The Gree Companies shall establish and maintain, or

25   modify as necessary, written standards, policies, and procedures

26   with sufficient resources for responding to, investigating, and

27   documenting allegations of potential product hazards, and violations

28   of the CPSA, its implementing regulations, and agreements with the

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 1   CPSC, and which provides for the appropriate forwarding to personnel

 2   at the Gree Companies with authority to act (“Compliance Officer”)

 3   of all information that may relate to, or affect, product safety and

 4   CPSA compliance, including all reports and complaints involving

 5   consumer products, whether an injury is referenced or not, and that

 6   may relate to, or affect, UL certification or listing, whether

 7   confirmatory testing has been conducted or not.

 8         2.    The Gree Companies shall implement, maintain, and enforce

 9   an effective system of internal controls and procedures, to the

10   extent that they do not yet exist, designed to ensure that, with

11   respect to all consumer products manufactured, imported, or

12   distributed by the Gree Companies and sold in the United States:

13              a.    information required to be disclosed by the Gree

14   Companies to the CPSC is recorded, processed, and reported in

15   accordance with applicable law;

16              b.    all required reporting made to the CPSC is timely,

17   truthful, complete, accurate, and in accordance with applicable law;

18   and

19              c.    prompt disclosure is made to the Gree Companies’

20   relevant senior management of any deficiencies in the design or

21   operation of such internal controls and procedures that are

22   reasonably likely to adversely affect, in any material respect, the

23   Gree Companies’ ability to record, process, and report to the CPSC

24   in accordance with applicable law.

25                        Confidential Employee Reporting

26         3.   The Gree Companies shall establish or modify as necessary

27   a confidential reporting program for their employees and agents who

28   wish to disclose any concerns related to consumer product safety or

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 1   quality to a Compliance Officer or another senior manager with

 2   authority to act as necessary.

 3        4.      The Gree Companies shall publicize the existence of the

 4   confidential reporting program annually to their employees and

 5   agents through emails, posting on Company intranets, live or online

 6   training, or other effective means.        The confidential reporting

 7   program shall include a non-retribution, non-retaliation policy, and

 8   shall facilitate anonymous and confidential communications for which

 9   appropriate confidentiality shall be maintained.

10        5.      Upon receipt of a disclosure related to consumer product

11   safety or quality, a Compliance Officer or a senior manager with

12   authority to act as necessary shall make a diligent, good-faith

13   inquiry into the disclosure to ensure that he or she has obtained

14   all the information necessary to determine whether a further review

15   should be conducted.     The Compliance Officer or senior manager shall

16   conduct such further review of for any disclosure that is

17   sufficiently specific to:

18              a.     permit determination of the appropriateness of the

19   alleged impropriety; and

20              b.     provide an opportunity for taking corrective action.

21        6.    The Compliance Officer or senior manager shall maintain a

22   disclosure log, which shall include a record and an accurate and

23   complete summary of each disclosure related to consumer product

24   safety or quality received (whether anonymous or not), the status of

25   the respective reviews, and any corrective action taken in response

26   to the reviews.    All information gathered by the confidential

27   reporting program shall be maintained for at least five (5) years

28   following closure of the review and corrective action.

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 1                             Training and Enforcement

 2        7.    The Gree Companies shall implement and maintain, or modify

 3   as necessary, mechanisms designed to ensure that the Compliance

 4   Program is effectively communicated to all applicable directors,

 5   officers, employees, and where necessary and appropriate, agents,

 6   vendors, and business partners.

 7        8.    The Gree Companies shall establish and maintain, or modify

 8   as necessary, an effective system for providing guidance, training

 9   and advice to directors, officers, employees, and where necessary

10   and appropriate, agents, vendors, and business partners, on

11   complying with the CPSA, its implementing regulations, agreements

12   with the CPSC, and the Compliance Program, including when they need

13   advice on an urgent basis.

14                 Management Responsibility and Accountability

15        9.    The Gree Companies shall assign continuing responsibility

16   for the implementation and oversight of the Compliance Program to

17   one or more senior corporate executives who, by reason of

18   background, experience, education, or training are competent to

19   oversee product safety and regulatory compliance-related matters.

20   Such corporate executive(s) shall have the authority to report

21   directly to independent monitoring bodies, including internal

22   auditors, the Company’s Board of Directors, or any appropriate

23   committee of the Board of Directors, and shall have an adequate

24   level of autonomy from management as well as sufficient resources

25   and authority to maintain such autonomy.

26                         Record Retention and Provision

27        10.   The Gree Companies shall ensure retention of all CPSA

28   compliance-related records for at least five (5) years and shall

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 1   make such records available to the government or CPSC staff upon

 2   reasonable request, subject to applicable laws and regulations, as

 3   well as valid claims of attorney-client privilege or attorney work

 4   product doctrine.     However, the Gree Companies must provide to the

 5   government a log of any document or information that is not provided

 6   based on an assertion of law, regulation, or privilege, and the Gree

 7   Companies bear the burden of establishing the validity of any such

 8   assertions.

 9        11.   Upon reasonable request of the government or CPSC staff,

10   the Gree Companies shall provide written documentation of their

11   compliance-related improvements, processes, and controls, including,

12   but not limited to, the effective dates of such improvements,

13   processes, and controls.      Upon reasonable request, the Gree

14   Companies shall cooperate fully and truthfully with the government

15   and CPSC staff to make available, in a manner agreed to by the

16   parties, all non-privileged information and materials, and personnel

17   deemed necessary by the government or CPSC staff, to identify and

18   evaluate records related to the Gree Companies’ compliance with the

19   CPSA, its implementing regulations, agreements with the CPSC, and

20   the Compliance Program.      The Gree Companies’ cooperation pursuant to

21   this paragraph is subject to applicable laws and regulations, as

22   well as valid claims of attorney-client privilege or attorney work

23   product doctrine.     However, the Gree Companies must provide to the

24   government a log of any document or information that is not provided

25   based on an assertion of law, regulation, or privilege, and the Gree

26   Companies bear the burden of establishing the validity of any such

27   assertions.

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 1                                 Compliance Expert

 2        12.   The Gree Companies shall retain, at the Gree Companies’

 3   expense, an independent person or persons (the “Expert”), without

 4   personal or financial ties (other than the retention agreement

 5   between the parties) to the Gree Companies and/or the families of

 6   their senior management, who by reason of background, experience,

 7   education, and training, is qualified to advise the Gree Companies

 8   on product safety and regulatory compliance issues under the CPSA

 9   and its implementing regulations.          The Expert’s qualifications shall

10   include, but not be limited to, creating comprehensive product

11   safety and regulatory compliance policies, designing employee

12   training programs, and conducting regulatory compliance audits and

13   inspections.    The Gree Companies shall notify the government in

14   writing of the name(s) and qualifications of the Expert as soon as

15   they retain the Expert.

16        13.   Within six months of the Effective Date of the Deferred

17   Prosecution Agreement with Gree Zhuhai and Gree Hong Kong, the

18   Expert shall, in consultation with the Gree Companies, start the

19   process of auditing and advising the Gree Companies on the following

20   aspects of their Compliance Program:

21              a.    written standards, policies and procedures that

22   provide for the appropriate forwarding to compliance personnel of

23   all information that may relate to, or impact, CPSA compliance,

24   including all reports and complaints involving consumer products

25   manufactured, imported, or distributed by the Gree Companies and

26   sold in the United States, whether an injury is referenced or not;

27              b.    a mechanism for confidential employee reporting of

28   compliance-related questions or concerns to either a compliance

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 1   officer or to another senior manager with authority to act as

 2   necessary;

 3              c.    effective communication of compliance-related

 4   policies and procedures regarding the CPSA to all applicable

 5   employees through training programs or otherwise;

 6              d.    senior management responsibility for CPSA compliance

 7   and accountability for violations of the CPSA and its implementing

 8   regulations; and

 9              e.    retention of all CPSA compliance-related records for

10   at least five (5) years, and availability of such records to the

11   government or CPSC staff upon reasonable request.

12        14.   The Expert shall report to the government periodically, at

13   no less than twelve-month intervals during a three-year term (the

14   “Term”), regarding the Gree Companies’ remediation and

15   implementation of their Compliance Program and these Enhanced

16   Compliance Measures.     The Term shall begin on the Effective Date of

17   the Deferred Prosecution Agreement with Gree Zhuhai and Gree Hong

18   Kong.   During the Term, the Expert shall submit an initial report

19   and at least two (2) follow-up reports (collectively the “Expert

20   Reports”).

21              a.    By no later than twelve (12) months from the

22   Effective Date of the Deferred Prosecution Agreement with Gree

23   Zhuhai and Gree Hong Kong, the Expert shall submit to the government

24   a written report (the “initial Expert Report”) setting forth a

25   description of the Gree Companies’ remediation efforts to date, and

26   when necessary and appropriate, their proposals reasonably designed

27   to improve their Compliance Program for ensuring consumer product

28   safety and compliance with the CPSA.        The initial Expert Report

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 1   shall include an evaluation of the aspects of the Gree Companies’

 2   Compliance Program set forth in Paragraph 13 above.

 3              b.    The Expert shall submit to the government at least

 4   two (2) follow-up written reports (the “follow-up Expert Reports”).

 5   The first follow-up Expert Report shall be completed and delivered

 6   to the government no later than twelve (12) months after the initial

 7   Expert Report is submitted to the government.          The second follow-up

 8   Export Report shall be completed and delivered to the government no

 9   later than thirty (30) days before the end of the Term or twelve

10   (12) months after the first follow-up Expert Report, whichever is

11   earlier.   The follow-up Expert Reports shall assess whether the Gree

12   Companies’ Compliance Program is reasonably designed to ensure

13   consumer product safety and compliance with the CPSA, and include an

14   evaluation of the aspects of the Gree Companies’ Compliance Program

15   set forth in Paragraph 13 above.

16              c.    The Expert Reports likely will include proprietary,

17   financial, confidential, and competitive business information.

18   Public disclosure of the Expert Reports could discourage cooperation

19   or impede pending or potential government investigations and thus

20   undermine the objectives of the reporting requirement.           For these

21   reasons, among others, the Expert Reports and contents thereof are

22   intended to remain and shall remain non-public, except as otherwise

23   agreed to by the Gree Companies and the government in writing, or

24   except to the extent that the government determines in its sole

25   discretion that disclosure would be in furtherance of the

26   government’s discharge of its duties and responsibilities or is

27   otherwise required by law.

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 1              d.     The Expert or the Gree Companies may submit a timely

 2   written request for an extension of time to provide any of the

 3   Expert Reports.    A written request is timely if received by the

 4   government at least five (5) days before the date the report is due.

 5   Timely requests for extension will not be unreasonably denied.

 6                        II.   Gree Reporting Requirements

 7        15.   The Gree Companies shall report to the government

 8   periodically, at no less than twelve-month intervals during the

 9   three-year Term, regarding their remediation and implementation of

10   the Compliance Program and these Enhanced Compliance Measures.            As

11   with the Expert Reports, the Term shall begin on the Effective Date

12   of the Deferred Prosecution Agreement with Gree Zhuhai and Gree Hong

13   Kong.   During the Term, the Gree Companies shall:

14              a.     Conduct an initial review and submit an initial

15   report; and

16              b.     Conduct and prepare at least two (2) follow-up

17   reviews and reports, as described below.

18        16.   By no later than twelve (12) months from the Effective

19   Date of the Deferred Prosecution Agreement with Gree Zhuhai and Gree

20   Hong Kong, the Gree Companies shall submit to the government a

21   written report (the “initial Gree Report”) setting forth a complete

22   description of their remediation efforts to date, and when necessary

23   and appropriate, their proposals reasonably designed to improve the

24   Gree Companies’ Compliance Program for ensuring consumer product

25   safety and compliance with the CPSA, and the proposed scope of the

26   subsequent reviews.

27        17.   The Gree Companies shall undertake at least two (2)

28   follow-up reviews and reports (the “follow-up Gree Reports”),

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 1   incorporating the government’s views on the Gree Companies’ previous

 2   reviews and reports, to further monitor and assess whether the Gree

 3   Companies’ Compliance Program is reasonably designed to ensure

 4   consumer product safety and detect and prevent violations of the

 5   CPSA.

 6        18.   The first follow-up Gree Report shall be completed and

 7   delivered to the government no later than twelve (12) months after

 8   the initial Gree Report is submitted to the government.           The second

 9   follow-up Gree Report shall be completed and delivered to the

10   government no later than thirty (30) days before the end of the Term

11   or twelve (12) months after the first follow-up Gree Report,

12   whichever is earlier.

13        19.   The initial and follow-up Gree Reports may rely on,

14   reference, or incorporate, in whole or in part, the Expert Reports.

15        20.   The Gree Reports likely will include proprietary,

16   financial, confidential, and competitive business information.

17   Public disclosure of the Gree Reports could discourage cooperation

18   or impede pending or potential government investigations and thus

19   undermine the objectives of the reporting requirement.           For these

20   reasons, among others, the Gree Reports and contents thereof are

21   intended to remain and shall remain non-public, except as otherwise

22   agreed to by the Gree Companies and the government in writing, or

23   except to the extent that the government determines in its sole

24   discretion that disclosure would be in furtherance of the

25   government’s discharge of its duties and responsibilities or is

26   otherwise required by law.

27        21.   The Gree Companies may submit a timely written request for

28   an extension of time to provide any of the Gree Reports.           A written

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 1   request is timely if received by the government at least five (5)

 2   days before the date the report is due.        Timely requests for

 3   extension will not be unreasonably denied.

 4                      III. Certifications and Resolutions

 5        22.   In addition to the Gree Companies’ reporting requirements

 6   set forth in Paragraphs 15-21, the Gree Companies shall make annual

 7   compliance-related certifications and resolutions to the government

 8   as described below:

 9              a.     The Gree Companies shall conduct the reviews

10   described in this paragraph and Paragraph 23 for each of three (3)

11   Review Periods.    The duration of each Review Period shall be twelve

12   (12) months, beginning with the first twelve (12) month period

13   following the Effective Date of the Deferred Prosecution Agreement

14   with Gree Zhuhai and Gree Hong Kong.        The Gree Companies shall

15   provide the certifications and resolutions described in this

16   paragraph and Paragraph 23 to the government within one hundred

17   twenty (120) days following the end of each of the Review Periods.

18              b.     Following the end of each Review Period, the

19   President or Chief Executive Officer (“President”) of Gree Zhuhai

20   shall conduct a review of the Gree Companies’ compliance with their

21   obligations under the Compliance Program and these Enhanced

22   Compliance Measures.     Based on his or her review, the President

23   shall submit to the government a certification stating that, to the

24   best of his or her knowledge based on a reasonable inquiry, during

25   the preceding Review Period, the Gree Companies complied with all

26   its obligations under the Compliance Program and these Enhanced

27   Compliance Measures.     The certification shall summarize the review

28   described above.    If the President is unable to provide any part of

                                           11
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 1   this certification as specified herein, he or she shall provide a

 2   detailed explanation of why he or she is unable to provide such

 3   certification.    The certification and detailed explanation shall be

 4   sworn to under the pains and penalty of perjury in the United States

 5   (and, if applicable, under the pains and penalty of perjury in the

 6   jurisdiction where the President makes the certification or detailed

 7   explanation (“Other Jurisdiction”)) and shall set forth that the

 8   representations contained therein may be provided to, relied upon,

 9   and material to the United States (and, if applicable, the Other

10   Jurisdiction), and that a knowing false statement could result in

11   criminal or civil liability for the signatory in the United States

12   (and, if applicable, the Other Jurisdiction).

13        23.    Following the end of each Review Period, the Board of

14   Directors of Gree Zhuhai or a designated Committee thereof (the

15   “Board”), shall conduct a review of the Gree Companies’ compliance

16   with their obligations under the Compliance Program and these

17   Enhanced Compliance Measures.       The Board shall evaluate the Gree

18   Companies’ compliance by, at a minimum, receiving updates about the

19   activities of management employees responsible for ensuring

20   compliance with the Compliance Program and these Enhanced Compliance

21   Measures, and updates about the adoption and implementation of

22   policies, procedures, and practices as it relates to such

23   compliance.    Based on its review, the Board shall submit to the

24   government a resolution that summarizes its review and oversight as

25   set forth above and that includes, at a minimum, the following

26   language:

27        The Board of Directors of Gree Zhuhai (or a designated
          Committee of the Board) has made a reasonable inquiry
28

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 1          as described in Paragraph 23 of the Enhanced Compliance
            Measures Exhibit D to the Plea Agreement with Gree USA
 2          and the Deferred Prosecution Agreement with Gree Zhuhai
            and Gree Hong Kong concerning the Gree Companies’
 3          compliance with their obligations under the Compliance
 4          Program and the Enhanced Compliance Measures in Exhibit
            D for the preceding Review Period, [insert date range],
 5          including the performance of management employees
            responsible for ensuring such compliance. Based on its
 6          reasonable inquiry and review, the Board has concluded
            that, to the best of its knowledge, the Gree Companies
 7          have complied with all their obligations under the
 8          Compliance Program and the Enhanced Compliance Measures
            in Exhibit D to the Plea Agreement with Gree USA and
 9          the Deferred Prosecution Agreement with Gree Zhuhai and
            Gree Hong Kong.
10

11   If the Board is unable to provide any part of this statement, it

12   shall include in the resolution a written explanation of the reasons

13   why it is unable to provide such a statement.

14          24.   The Gree Companies may submit a timely written request for

15   an extension of time to provide the annual President certification

16   or Board resolution required in Paragraphs 22 and 23.           A written

17   request is timely if received by the government at least five (5)

18   days prior to the date by which the certification or resolution is

19   due.    Timely requests for extension will not be unreasonably denied.

20          25.   All certifications, resolutions, reports, notifications

21   and other materials and information that must be provided to the

22   government as a part of these Enhanced Compliance Measures shall be

23   delivered by: (1) email to an email address provided by the

24   government; and (2) personal delivery, or overnight delivery by a

25   recognized delivery service addressed to the following:

26          Director, Consumer Protection Branch
            U.S. Department of Justice
27
            450 5th Street, NW, Suite 6400 South
28          Washington, DC 20001

                                           13
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 1
          and
 2
          Chief, Environmental and Community Safety Crimes Section
 3        U.S. Attorney’s Office
 4        Central District of California
          1300 United States Courthouse
 5        312 North Spring Street
          Los Angeles, CA 90012
 6

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 1                                      Exhibit E
 2   TRACY L. WILKISON
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 3   SCOTT M. GARRINGER
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 4   Chief, Criminal Division
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 5   DENNIS MITCHELL (Cal. Bar No. 116039)
     Assistant United States Attorneys
 6   Environmental and Community Safety
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 8        Los Angeles, California 90012
          Telephone: (213) 894-4536
 9        Facsimile: (213) 894-6436
          E-mail: joseph.johns@usdoj.gov
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     GUSTAV W. EYLER
11   Director
     United States Department of Justice
12   Consumer Protection Branch
     ALLAN GORDUS
13   NATALIE N. SANDERS
     MARYANN N. MCGUIRE
14   Trial Attorneys
     Consumer Protection Branch
15   U.S. Department of Justice
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16        Washington, DC 20044
          Telephone: (202) 307-1862
17        Facsimile: (202) 514-8742
          Email:     allan.gordus@usdoj.gov
18   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
19
                             UNITED STATES DISTRICT COURT
20
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
21
     UNITED STATES OF AMERICA,                Case No. CR 21-
22
               Plaintiff,                     STIPULATION REGARDING REQUEST FOR
23                                            (1) CONTINUANCE OF TRIAL DATE AND
                     v.                       (2) FINDINGS OF EXCLUDABLE TIME
24                                            PERIODS PURSUANT TO SPEEDY TRIAL
     GREE ELECTRIC APPLIANCES, INC.           ACT; [proposed] ORDER
25   OF ZHUHAI, and
     HONG KONG GREE ELECTRIC
26   APPLIANCES SALES CO., LTD.,
27             Defendants.
28
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 1        Plaintiff United States of America, by and through its counsel

 2   of record, the United States Department of Justice’s Consumer

 3   Protection Branch and the United States Attorney’s Office for the

 4   Central District of California (collectively, the “government”), and

 5   defendants GREE ELECTRIC APPLIANCES, INC. OF ZHUHAI (“GREE ZHUHAI”)

 6   and HONG KONG GREE ELECTRIC APPLIANCES SALES CO., LTD. (“GREE HONG

 7   KONG”), both individually and by and through their counsel of record,

 8   James M. Koukios and Sophie Cash, hereby stipulate as follows:

 9        1.    The Information and Deferred Prosecution Agreement in this

10   case were filed on October 26, 2021.        The Speedy Trial Act, 18 U.S.C.

11   § 3161, originally required that the trial commence on or before

12   January 4, 2022.

13        2.    By this stipulation, the government, GREE ZHUHAI, and GREE

14   HONG KONG move to continue the trial date to October 26, 2024.            This

15   is the first request for a continuance of the trial date.

16        3.    The government, GREE ZHUHAI, and GREE HONG KONG request the

17   continuance based upon the following facts, which the parties believe

18   demonstrate good cause to support the appropriate findings under the

19   Speedy Trial Act:

20              a.    GREE ZHUHAI and GREE HONG KONG are charged with

21   Failure to Furnish Information Required by 15 U.S.C. § 2064(b), in

22   violation of 15 U.S.C. §§ 2068(a)(4) and 2070.

23              b.    GREE ZHUHAI and GREE HONG KONG have entered into a

24   Deferred Prosecution Agreement with the government, which was filed

25   on October 26, 2021.

26              c.    In light of the foregoing, the parties represent that

27   additional time is necessary for GREE ZHUHAI and GREE HONG KONG to

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 1   demonstrate their compliance with the provisions of the Deferred

 2   Prosecution Agreement during the term of the agreement.

 3              d.    The government, GREE ZHUHAI, and GREE HONG KONG

 4   believe that failure to grant the continuance would be likely to make

 5   a continuation of the proceeding impossible or result in a

 6   miscarriage of justice.

 7              e.    The requested continuance is not based on congestion

 8   of the Court’s calendar, lack of diligent preparation on the part of

 9   the attorneys for the government or the defense, or failure on the

10   part of the attorneys for the government to obtain available

11   witnesses.

12        4.    For purposes of computing the date under the Speedy Trial

13   Act by which GREE ZHUHAI’s and GREE HONG KONG’s trial must commence,

14   the parties agree that the time period of October 26, 2021 to

15   October 26, 2024, inclusive, should be excluded pursuant to 18 U.S.C.

16   §§ 3161(h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv) because the delay

17   results from a continuance granted by the Court at the government’s,

18   GREE ZHUHAI’s, and GREE HONG KONG’s request on the basis of the

19   Court’s finding that: (i) the ends of justice served by the

20   continuance outweigh the best interest of the public and GREE ZHUHAI

21   and GREE HONG KONG in a speedy trial; and (ii) failure to grant the

22   continuance would be likely to make a continuance of the proceeding

23   impossible, or result in a miscarriage of justice.

24        5.    In addition, the parties agree that the time period of

25   October 26, 2021 to October 26, 2024, inclusive, should be excluded

26   pursuant to 18 U.S.C. § 3161(h)(2) because the delay constitutes a

27   period during which prosecution is deferred by the attorneys for the

28   government pursuant to a written agreement with GREE ZHUHAI and GREE
                                           3
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     Case 2:21-cr-00498-DSF Document 9 Filed 10/28/21 Page 92 of 94 Page ID #:179



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16
     Attorneys for Plaintiff
17   UNITED STATES OF AMERICA

18                           UNITED STATES DISTRICT COURT

19                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

20   UNITED STATES OF AMERICA,                Case No. CR 21-

21             Plaintiff,                     [proposed] ORDER CONTINUING TRIAL
                                              DATE AND FINDINGS REGARDING
22                   v.                       EXCLUDABLE TIME PERIODS PURSUANT
                                              TO SPEEDY TRIAL ACT
23   GREE ELECTRIC APPLIANCES, INC.
        OF ZHUHAI, and
24   HONG KONG GREE ELECTRIC
     APPLIANCES SALES CO., LTD.,
25
               Defendants.
26

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     Case 2:21-cr-00498-DSF Document 9 Filed 10/28/21 Page 93 of 94 Page ID #:180



 1        The Court has read and considered the Stipulation Regarding

 2   Request for (1) Continuance of Trial Date and (2) Findings of

 3   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the

 4   parties in this matter on October 26, 2021.         The Court hereby finds

 5   that the Stipulation, which this Court incorporates by reference into

 6   this Order, demonstrates facts that support a continuance of the

 7   trial date in this matter, and provides good cause for a finding of

 8   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

 9        The Court further finds that: (i) the ends of justice served by

10   the continuance outweigh the best interest of the public and

11   defendants in a speedy trial; (ii) failure to grant the continuance

12   would be likely to make a continuation of the proceeding impossible,

13   or result in a miscarriage of justice; and (iii) pursuant to 18

14   U.S.C. § 3161(h)(2), because the parties have entered into and filed

15   a deferred prosecution agreement and the time period would allow

16   defendants to demonstrate their good conduct.

17        THEREFORE, FOR GOOD CAUSE SHOWN:

18        1.     The trial in this matter is continued to October 26, 2024.

19        2.     The time period of October 26, 2021 to October 26, 2024,

20   inclusive, is excluded in computing the time within which the trial

21   must commence, pursuant to 18 U.S.C. § 3161(h)(2), (h)(7)(A),

22   (h)(7)(B)(i), and (h)(7)(B)(iv).

23        3.     Nothing in this Order shall preclude a finding that other

24   provisions of the Speedy Trial Act dictate that additional time

25   periods are excluded from the period within which trial must

26   commence.   Moreover, the same provisions and/or other provisions of

27   the Speedy Trial Act may in the future authorize the exclusion of

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 1   additional time periods from the period within which trial must

 2   commence.

 3        IT IS SO ORDERED.

 4

 5
      DATE                                     HONORABLE
 6                                             UNITED STATES DISTRICT JUDGE
 7
     Presented by:
 8
         /s/
 9   JOSEPH O. JOHNS
     DENNIS MITCHELL
10   Assistant United States Attorneys
11

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